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                                  No. 2021-2348
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                                       In the
       United States Court of Appeals
                       for the Federal Circuit

   LKQ CORPORATION; KEYSTONE AUTOMOTIVE INDUSTRIES, INC.,
                                                                                   Appellants,
                                            v.

             GM GLOBAL TECHNOLOGY OPERATIONS LLC,
                                                                                    Appellee.
                     _______________________________________
                Appeals from the United States Patent and Trademark Office,
                  Patent Trial and Appeal Board in No. IPR2020-00534.

     BRIEF OF APPELLANTS LKQ CORPORATION and KEYSTONE
                 AUTOMOTIVE INDUSTRIES, INC.


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CLAIM

The ornamental design for a vehicle front fender, as shown and described.




                 FIG. 1                                   FIG. 2




                 FIG. 3                                   FIG. 4
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                                                                     12/29/2021



FORM 9. Certificate of Interest                                                   Form 9 (p. 1)
                                                                                     July 2020


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 21-2348
   Short Case Caption LKQ Corporation v. GM Global Technology Operations LLC
   Filing Party/Entity LKQ Corporation



 Instructions: Complete each section of the form. In answering items 2 and 3, be
 specific as to which represented entities the answers apply; lack of specificity may
 result in non-compliance. Please enter only one item per box; attach
 additional pages as needed and check the relevant box. Counsel must
 immediately file an amended Certificate of Interest if information changes. Fed.
 Cir. R. 47.4(b).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        12/29/2021
  Date: _________________                   Signature:    /s/Barry Irwin

                                            Name:         Barry Irwin
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                                                               2      Filed: 01/26/2022
                                                                             12/29/2021



FORM 9. Certificate of Interest                                                           Form 9 (p. 2)
                                                                                             July 2020


     1. Represented                        2. Real Party in            3. Parent Corporations
         Entities.                             Interest.                  and Stockholders.
   Fed. Cir. R. 47.4(a)(1).              Fed. Cir. R. 47.4(a)(2).        Fed. Cir. R. 47.4(a)(3).
 Provide the full names of             Provide the full names of       Provide the full names of
 all entities represented              all real parties in interest    all parent corporations
 by undersigned counsel in             for the entities. Do not        for the entities and all
 this case.                            list the real parties if        publicly held companies
                                       they are the same as the        that own 10% or more
                                       entities.                       stock in the entities.

                                       ✔ None/Not Applicable
                                       ☐                               ☐ None/Not Applicable

       LKQ Corporation                                                           None

Keystone Automotive Industries, Inc.                                       LKQ Corporation




                                          Additional pages attached
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                                                       3   Filed: 01/26/2022
                                                                  12/29/2021



FORM 9. Certificate of Interest                                                Form 9 (p. 3)
                                                                                  July 2020


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already
 entered an appearance in this court. Fed. Cir. R. 47.4(a)(4).
          None/Not Applicable                    Additional pages attached

          Reid Huefner              Margaret Herrmann




 5. Related Cases. Provide the case titles and numbers of any case known to be
 pending in this court or any other court or agency that will directly affect or be
 directly affected by this court’s decision in the pending appeal. Do not include the
 originating case number(s) for this case. Fed. Cir. R. 47.4(a)(5). See also Fed. Cir.
 R. 47.5(b).
  ✔
          None/Not Applicable                    Additional pages attached




 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
  ✔       None/Not Applicable                    Additional pages attached
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                      STATEMENT OF RELATED CASES

      There have been no other appeals in or from the Patent Trial and Appeal Board

(“PTAB”)’s decision in IPR2020-00534 (concerning U.S. Design Patent D797,625

(“the ’625 Patent”)) before this or any other appellate court. Counsel for Appellants

is not aware of any other case pending in this or any other court or agency that will

directly affect or be directly affected by the Court’s decision on this appeal.

                       JURISDICTIONAL STATEMENT
      The PTAB had jurisdiction over IPR2020-00534 pursuant to 35 U.S.C.

§§ 311-315.    On August 4, 2021, the PTAB entered a final written decision

(“Decision”) in the proceeding. Appx0001-0060. Appellants timely filed their

notice of appeal on October 7, 2021. Dkt. 3. Further, Appellants currently offer for

sale a product that Appellants believe Appellee would deem to infringe the design

patent challenged in IPR2020-00534, and Appellants reasonably believe that

Appellee would commence legal proceedings against Appellants alleging

infringement of that design patent. Thus, Appellants have standing to appeal the

PTAB’s decision in IPR2020-00534, and this Court has jurisdiction over the appeal

pursuant to 28 U.S.C. § 1295(a)(4)(A) and 35 U.S.C. §§ 141-144, 319.




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                                 INTRODUCTION

      The PTAB concluded that the design reflected in the primary prior art

reference relied upon by LKQ, U.S. Pat. No. D773,340 (“Lian”), was neither

substantially similar to nor basically the same as the claimed design. As a result, the

Board concluded that it did not even need to consider whether the differences

between Lian and the claimed design would be obvious to a designer of ordinary

skill in the art. Given the striking similarity between the designs, as shown in the

illustrations below, those conclusions could only be premised upon a

misunderstanding of the law:

             ’625 PATENT                                     LIAN
            CLAIMED DESIGN                                 PRIOR ART




            Appx0063, FIG. 2                  Appx0450, FIG. 4 (cropped, annotated)




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            Appx0064, FIG. 3                  Appx0449, FIG. 1 (cropped, annotated)




            Appx0064, FIG. 4                  Appx0451, FIG. 5 (cropped, annotated)




            Appx0063, FIG. 1                  Appx0452, FIG. 6 (cropped, annotated)

      The Board did not evaluate the two designs as a whole from the perspective

of the only observer to whom the design actually matters—the purchaser of the

automobile incorporating that design. Instead, the Board erroneously defined the

ordinary observer as the purchaser of a replacement part looking to restore a vehicle

to its original design. The Board further erred by applying a nonsensical legal test

for anticipation, under which a design is more likely to be found novel when there is

more prior art. As a result, the Board treated trivial differences between the claimed


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design and Lian as significant, giving undue weight to GM’s “checklist of

differences,” rather than comparing the designs as a whole.

      Those errors also infected the Board’s obviousness analysis. In determining

whether the design in Lian was “basically the same” as the claimed design, the Board

once again compared the designs through the lens of GM’s “checklist of differences”

rather than considering the designs as a whole. Remarkably, having determined in

the context of anticipation that the differences between the designs were small, the

Board turned around and treated those very same differences as meaningful enough

to avoid obviousness.

      Because the Board found that no one reference was “basically the same” as

the patented design, it never even looked at the secondary prior art reference relied

upon by LKQ—one that teaches every purportedly meaningful difference between

the prior art and the claimed design. That was error. The CCPA’s bright-line

requirement of a primary reference cannot survive KSR International Co. v. Teleflex,

Inc., 550 U.S. 398 (2007). The Supreme Court’s test for obviousness does not

require a single reference that discloses a design that is basically the same as the

claimed design; indeed, there was no such primary reference in KSR.              The

requirement of a primary reference cannot be squared with KSR’s holistic approach.

Nor does the Board’s narrow focus reflect the reality of design practice. Designers

routinely create new designs by combining aspects of different designs. Designers


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would not only find designs to be obvious when they make minor modifications to

an existing design.

                          STATEMENT OF THE ISSUES
   1. Whether, in determining if Lian anticipates the claimed design under 35

      U.S.C. § 102:

         a. the Board erroneously defined the ordinary observer as the purchaser

             of a replacement part embodying the claimed design rather than the

             purchaser for whom the part was designed, i.e., the purchaser of the

             vehicle first incorporating that part;

         b. the Board erroneously found that trivial differences between Lian and

             the claimed design were significant to an ordinary observer because

             there were numerous similar prior art designs despite finding that GM

             had not proven that vehicle fenders is a crowded field; and/or

         c. the board erroneously concluded that the overall visual impression of

             Lian was not substantially the same as the claimed design because of

             trivial differences it found would be noticed by the replacement

             purchaser.




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2. Whether, in finding that the claimed design was not obvious under 35 U.S.C.

   § 103:

      a. the Board erred in applying Rosen and demanding a single primary

            reference as a predicate to the obviousness analysis despite the Supreme

            Court’s rejection of such bright-line rules in connection with the

            obviousness analysis in KSR Int’l Co. v. Teleflex, Inc., 550 U.S. 398

            (2007);

      b. the Board erred in conflating the tests for anticipation and obviousness

            by treating a prior art reference as a qualifying primary reference only

            when the design disclosed in that prior art reference is “basically the

            same” as the claimed design;

      c. the Board erroneously found that the design in Lian was not basically

            the same as the claimed design in light of GM’s checklist of differences,

            without regard to the overall visual similarities between the designs and

            despite the triviality of those differences; and/or

      d. the Board erred by requiring LKQ to provide an exhaustive verbal claim

            construction as a predicate to evaluating obviousness.




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                          STATEMENT OF THE CASE

      LKQ argued in its Petition that GM’s D797,625 Patent (“the ’625 Patent”)

was invalid as anticipated or obvious in light of Lian alone or (to the extent an

express teaching of a rounded wheel arch and termination of the fender above the

rocker panel was necessary) in combination with the closely related 2010 Hyundai

Tucson fender as disclosed in a prior art Hyundai promotional brochure (“Hyundai

Tucson”). Appx0134-0218. Images of the claimed design, Lian, and the Hyundai

Tucson are presented below:

     ’625 PATENT                    LIAN                    TUCSON
    CLAIMED DESIGN            PRIMARY REFERENCE        SECONDARY REFERENCE




                               Appx0450, FIG. 4               Appx0464
    Appx0063, FIG. 2
                              (cropped, annotated)        (cropped, rotated)




                               Appx0449, FIG. 1               Appx0462
    Appx0064, FIG. 3
                              (cropped, annotated)        (cropped, flipped)



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      ’625 PATENT                   LIAN                     TUCSON
     CLAIMED DESIGN           PRIMARY REFERENCE         SECONDARY REFERENCE




                               Appx0451, FIG. 5                Appx0462
    Appx0064, FIG. 4
                              (cropped, annotated)         (cropped, flipped)




                               Appx0452, FIG. 6                Appx0453
    Appx0063, FIG. 1
                              (cropped, annotated)         (cropped, flipped)


Appx1134 (LKQ Reply at 30). LKQ’s Petition was supported by the testimony of

Mr. James M. Gandy, a former Design Patent Practice Specialist for Technology

Center 2900 at the United States Patent and Trademark Office (USPTO), and Mr.

Jason C. Hill, an expert automobile designer. Appx0294-0418.

      GM submitted a Preliminary Response advancing most of the arguments and

alleged distinctions it would later rely upon in its Patent Owner’s Response.

Appx0694-0742. GM argued that LKQ’s claim construction was deficient, it

inappropriately defined the ordinary observer, and it relied on an alleged crowded



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field as a basis for focusing the ordinary observer analysis on trivial differences

between the design and the prior art. Appx0704-0729.

      The Board, in its Institution Decision, Appx0778-0813, considered and

rejected GM’s arguments and determined that “comparison of the ’625 design and

Lian [was] consistent with LKQ’s claim charts and analysis as supported by [LKQ’s

experts].” Appx0800 (Institution Decision at 23). The Board further considered and

rejected each of the distinctions GM attempted to draw between Lian and the claimed

design as to both anticipation and obviousness. In its anticipation analysis, the Board

found:

             the creases, bends, and folds in the panel, although
             arguably dissimilar when analyzed in minute detail, those
             features do not appear as particularly different when
             considering the designs as a whole.

Appx0805 (Institution Decision at 28).

      In its Final Written Decision, the Board changed its position on nearly all of

its prior determinations without even acknowledging its prior conclusions or

explaining the changes. The Board incorporated into its claim construction as

“readily observable and relevant to the overall appearance of the claimed design”

detailed verbal descriptions of the features that GM identified in its claim

construction. Appx0015-0016 (Decision at 15-16). Because GM described the

features of its design in order to distinguish it from Lian, the Board effectively

construed the ’625 Patent in terms of its differences versus Lian.                 See


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Appx0006-0007 (Decision at 6-7) (“GM asserts that there are five specific

ornamental aspects of the design that contribute to its uniqueness”) (emphasis

added); Appx0016-0017.

      In contrast to the Institution Decision, in which the Board acknowledged that

LKQ’s Petition “assessed in comparison to Lian, in detail and with analysis, many

of the visually prominent elements that contribute to the overall appearance of the

claimed design,” Appx0799 (Institution Decision at 22), the Final Written

Decision’s analysis of the designs’ similarities consisted almost entirely of the

following:

              We recognize there are certain articulable and visible
              similarities in the overall appearance of the claimed design
              and Lian that would be apparent to an ordinary observer.
              As LKQ contends, both designs include a top protrusion
              and u-shaped notch. Pet. 13, 48. Below the u-shaped
              notch, Lian arguably shows a first and second crease
              extending forward from a door cut line as well as a
              concavity between the first and second creases. Id. at 14,
              48–49. Also, the distal portion, i.e. [sic] the front left, of
              both designs has a slanted forward edge extending
              between the wheel arch and front elevation profile fairly
              close in appearance. Id. at 52–53.

Appx0030-0031 (Decision at 30-31). Having diminished the similarities between

the designs, the Board then focused on GM’s checklist of purported differences, all

of which are trivial to the extent they even exist. Further, the Board cut short the

obviousness inquiry without considering LKQ’s obviousness combination, first

because LKQ purportedly failed to discern the correct overall visual impression of


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the claimed design, and then because it concluded that LKQ had not identified a

primary reference.

                       SUMMARY OF THE ARGUMENT
      The Board erred by incorrectly defining the ordinary observer for purposes of

anticipation as a purchaser of a replacement part seeking to repair an existing

vehicle. The Board should have defined the ordinary observer as the purchaser of a

new vehicle because that is the person to whom the claimed design actually was

directed and marketed. See, e.g., Gorham Mfg. Co. v. White, 81 U.S. 511 (1871);

Arminak & Assocs., Inc. v. Saint-Gobain Calmar, Inc., 501 F.3d 1314 (Fed. Cir.

2007).

      Second, the Board erred by crediting GM’s specious “crowded field” theory

despite having nominally rejected that theory as lacking legal and factual foundation.

Each of the Board’s anticipation determinations was based on its assumption that the

ordinary observer would “notice” trivial differences because of the supposed

“crowded field.” However, applying GM’s “crowded field” theory to anticipation

yields absurd results and is contrary to law. See, e.g., Egyptian Goddess, Inc. v.

Swisa, Inc., 543 F.3d 665, 678 (Fed. Cir. 2008) (en banc).

      Finally, the Board erred by focusing on GM’s checklist of differences rather

than comparing the claimed design and the design disclosed in Lian as a whole. This

alone merits reversal. See, e.g., Crocs, Inc. v. Int’l Trade Comm’n., 598 F.3d 1294,



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1302-1303 (Fed. Cir. 2010) (reversing an ITC determination of design patent

noninfringement for failure to consider the designs as a whole). In evaluating the

similarity of the designs, the Board wrongly relied on the testimony of GM’s

declarant, who admitted he never compared the designs as a whole and instead

focused on the differences. Appx1110-1111 (Reply at 6-7) (citing Appx1411-1413

(Deposition of Thomas V. Peters (“Peters”) at 63-65); Appx1500-1501 (Peters at

152-53)).

      With respect to obviousness, the Board first erred in applying the CCPA’s

Rosen test for design patent obviousness. See In re Rosen, 673 F.2d 388 (CCPA

1982). Rosen’s requirement of a “primary reference” that is “basically the same” as

the claimed design as a predicate for obviousness is the type of rigid and mandatory

approach that the Supreme Court rejected in favor of a more expansive and flexible

approach to obviousness. KSR Int’l Co. v. Teleflex, Inc., 550 U.S. 398 (2007). This

Rosen step only misdirects the obviousness inquiry away from the real issue:

whether the claimed design would have been obvious to a person of ordinary skill in

the art. It also blurs the distinction between anticipation and obviousness in a manner

contrary to law.

      Second, the Board erred in finding that Lian did not disclose a design that is

“basically the same” as the claimed design. The Board’s comparison of the designs

erroneously focused upon trivial differences instead of comparing overall visual


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appearances. The Board’s rejection of Lian as a primary reference was inconsistent

with this Court’s precedents, which have found less similar designs to be “basically

the same.” See, e.g., In re Carter, 673 F.2d 1378, 1380 (CCPA 1982).

      Finally, the Board erred in cutting the obviousness inquiry short in two distinct

respects. First, because it erroneously rejected Lian as a primary reference, the

Board refused to consider the combination of Lian and the 2015 Tucson. Second,

the Board erroneously determined that it could deny Appellant’s obviousness ground

without even analyzing obviousness because LKQ purportedly did not offer a

sufficient claim construction. Both conclusions are antithetical to the expansive and

flexible approach to obviousness mandated by the Supreme Court in KSR, 550 U.S.

at 415-21, and the Board’s claim construction determination was further contrary to

this Court’s precedents, which do not require a detailed claim construction. See

MRC Innovations, Inc. v. Hunter Mfg., 747 F.3d 1326, 1332 (Fed. Cir. 2014).




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                                    ARGUMENT

I.    STANDARD OF REVIEW
      In appeals from Inter Partes Review proceedings, the ultimate claim

constructions of a design patent are reviewed de novo, and any underlying factual

findings are reviewed for clear error. Sport Dimension, Inc. v. Coleman Co., Inc.,

820 F.3d 1316, 1321 (Fed. Cir. 2016). Further, this Court reviews the Board’s legal

conclusions de novo and its factual findings for substantial evidence. Campbell Soup

Co. v. Gamon Plus, Inc., 939 F.3d 1335, 1339 (Fed. Cir. 2019) (Campbell I).

      Anticipation is a question of fact reviewed for substantial evidence. Id.; Int’l

Seaway Trading Corp. v. Walgreens Corp., 589 F.3d 1233, 1237 (Fed. Cir. 2009).

The ultimate determination of obviousness is reviewed de novo, and any underlying

factual findings are reviewed for substantial evidence. Campbell Soup Co. v. Gamon

Plus, Inc., 10 F.4th 1268, 1275 (Fed. Cir. 2021) (Campbell II). (citations omitted).

However, like other legal questions, errors of law in applying the test for anticipation

and/or obviousness are reviewed de novo. See Belden Inc. v. Berk-Tek LLC, 805

F.3d 1064, 1073 (Fed. Cir. 2015) (“[This Court] review[s] the Board’s compliance

with the governing legal standards de novo”).




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II.   THE BOARD ERRED IN FINDING THAT LIAN DOES NOT
      ANTICIPATE THE CLAIMED DESIGN.
      A.     The Board’s Definition of the Ordinary Observer Rests on
             Misapplication of the Law and Lacks Substantial Evidence.

             1.     The Board Defined the Ordinary Observer as a Repairer,
                    and Not as the Ordinary Consumer.

      Because the design at issue is one for an automobile fender, the Board should

have defined the ordinary observer as “the retail consumer of an automobile.”

Appx0182-0183 (Petition at 40-41). That is the consumer for whom fenders are

designed; fenders are not sold in the first instance as separate products.

      GM never explained why the automobile purchaser for whom the part was

originally designed is not the appropriate ordinary observer. Instead, pointing to

evidence submitted in other proceedings showing that LKQ’s typical purchasers are

repair shops, GM argued that the ordinary observer “includes commercial buyers

who purchase replacement vehicle front fenders to repair a customer’s vehicle, such

as repair shop professionals.” Appx0704-0705 (GM Preliminary Response at 7-8).

LKQ’s customers are irrelevant; anticipation requires reference to the ordinary

observer of GM’s claimed design.

      The Board applied a standard even further removed from the ordinary

observer than GM’s: the perspective of someone inspecting a repaired vehicle with

the prior art fender installed on one side and the claimed fender installed on the

opposite side. That perspective was evident in oral argument:


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             JUDGE OBERMANN: But I think this is really important
             because, you know, you're sort of rocking the whole world
             that I had around these cases. Because I've always been
             thinking about this in terms of what's going to be
             acceptable to that post-buyer. You know, the person
             who's got the car. They're going to bring it into a shop. It's
             got to be acceptable to the person who owns that shop and
             has to get paid by the guy that brought it in. Right? And
             the guy that brought it in, if you get something that
             doesn't look like the other side of the car, if it's a different
             fender, you know -- You've got a couple things going on
             here. You've got, you know, what could be a potentially
             sophisticated purchase[sic] of a high end item. Looking to
             replace, you know, a fender, it's got to look like the other
             fender on the car or they're not going to accept it. Right?

Appx1764 (Hearing Transcript at 10) (emphasis added). And the Board’s Final

Written Decision embodied this legally erroneous approach, ignoring the new

vehicle purchase context entirely and focusing even the vehicle owner’s perspective

exclusively on repair applications. The Board found:

             the interests and goals of both the vehicle owner and repair
             shop person are aligned, that is—in the context of repair,
             to return the vehicle to its original appearance. Even if we
             chose between the two, the level of detail and analysis
             would not change sufficiently to affect the outcome of this
             Decision.

Appx0022 (Decision at 22) (emphasis added). Further, the Board found that “the

ordinary observer readily recognized incongruity associated with a part that does not

fit or match other parts of the vehicle it is attached to.” Appx0023 (Decision at 23).

      LKQ demonstrated throughout the proceeding, and it was undisputed, that a

fender is designed to be integrated into and marketed as part of a complete


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automobile. Indeed, there is no meaningful independent market for automobile parts

other than for the repair of the original vehicle for which they were designed.

Appx0182-0183 (Petition at 40-41) (citing Ex. 1004, ¶34 (Hill Dec)). Replacement

parts are offered and sold as a downstream consequence of the prior sale of a vehicle

having that part, and those parts are only sold if one of the vehicles for which it was

designed is damaged and needs that part to be replaced. Id. It makes little sense to

determine whether a design is anticipated by analyzing it in the context of a purchase

that may never happen.

      The Board’s focus on the replacement part context was erroneous because,

unlike new car purchasers, replacement part purchasers are not purchasing the design

as such. They are simply matching the design they have already bought. That is

also why it makes no sense to focus on automobile repair shops. Those shops seek

to return a damaged car to its original design, and in that context a fender is a “must-

fit” part that is required to be equivalent in form, fit, and function to the original

part.1 Defining the ordinary observer in the replacement context places undue

emphasis on trivial differences that do not matter to the consumers for whom fenders

are designed.



1
       Many states require insurance companies to return vehicles to their original
form, fit, and function. See Appx0757-0758 (LKQ Letter to CBP, 2017-09-28)
(citing Georgia, Florida, New York, Washington, Indiana, and Tennessee cases and
statutes).

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             2.    The Board’s Ordinary Observer Definition is Inconsistent
                   with the Supreme Court’s Practice and This Court’s
                   Precedents.

      Evaluating the designs from the perspective of someone repairing an existing

vehicle is inconsistent with Gorham Mfg. Co. v. White, 81 U.S. 511 (1871), and

contrary to this Court’s precedents.

      Gorham involved the design of silverware. Significantly, the Court viewed

the ordinary observer as the prospective purchaser of a new set of silverware, not a

person buying a replacement piece for an existing set. Gorham Mfg., 81 U.S. at 530.

As the images below demonstrate, the design of the allegedly infringing silverware

in Gorham was different enough that pieces with that design could not have passed

as replacement pieces for an existing set of the claimed design:




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      HEAD
   ORNAMENT
   BEADS TURN
                                                                              HEAD
                                                                           ORNAMENT
    UPWARDS
                                                                          BEADS TURN
      AND
                                                                            INWARDS
   OUTWARDS
                                                                              AND
                                                                          DOWNWARDS




    SCROLLS
   CROSS OVER                                                               SCROLLS
     BEADS                                                                  REMAIN
                                                                          WITHIN BEAD




                                                                            SINGLE,
   TWO BEADS                                                              WIDER BEAD
     ALONG
                                                                            ALONG
     SHANK
                                                                            SHANK




   CIRCULAR LOWER
    ORNAMENT WITH
     LEAVES; OUTER
      BEADS FLARE
   OUT; INNER BEADS
                                         BEADS CONVERGE
        JOIN IN A
                                           INTO POINTED
     ROUNDED END
                                        LOWER END WITH NO
                                         LEAVES OR FLARE



Appx1110 (LKQ Reply at 6) (citing Gorham Mfg., 81 U.S. at 521) (selected

differences annotated); see also id. at 530-31 (expressly rejecting that “identity of

design … is the possibility of being struck from the same die” and finding the designs



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“so much alike that in the market and with purchasers they would pass for the same

thing”).

      Neither of the Board’s cited cases, Arminak and Keystone, support the

proposition that the ordinary observer should even include replacement part

purchasers, much less that such a purchaser’s perception should govern the inquiry.

Rather, both cases counsel that the purchaser to whom the design is marketed as its

primary customer should be deemed the “ordinary observer.”

      Arminak involved trigger sprayer shrouds that were sold to “purchaser[s] of

trigger sprayer mechanisms for assembly and incorporation into the product that

[was] sold to retail consumers.” Arminak & Assocs., Inc. v. Saint-Gobain Calmar,

Inc., 501 F.3d 1314, 1321 (Fed. Cir. 2007). This Court defined the ordinary observer

as the purchaser of the sprayer shroud that was assembled into spray bottles, not

retail consumers of the assembled bottles. Id. at 1323. Likewise, in Keystone, a case

involving patented wall blocks, the Court focused on purchasers of the unassembled

blocks, not purchasers of assembled walls. Keystone Retaining Wall Sys., Inc. v.

Westrock, Inc., 997 F.2d 1444, 1451 (Fed. Cir. 1993). In both cases, the Court

defined the ordinary observer as the person to whom the article was marketed in the

first instance. The anticipation analysis does not change just because downstream

purchasers might later need identical replacement parts for their spray bottles or

retaining walls.


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      The key question is: who is the customer to whom the designer marketed and

sold the article embodying the design? In the case of fender designs, the answer is

undisputed: fenders are designed to be marketed and sold to prospective purchasers

of vehicles. Appx0182-0183 (Petition at 40-41). GM does not make and sell fenders

to car assemblers; GM makes and sells cars that include its fenders. Even GM’s

declarant testified that designers of vehicle fenders are focused on the purchasers of

vehicles:

             Q.    All right. You say also in paragraph 10: Ultimately
             the designer’s focus is driven by the customer. …. What
             do you mean by that?

             A.     I think since you design a product that’s going to be
             for sale, to me that’s the difference between fine art and,
             say, a professional designer, you’re designing a product.
             Designing – you’re designing a product that would be
             purchased.

             Q.     So in that context, the customer, who are you
             referring to?

             A.   The customer would be the end user or the one who
             would purchase the vehicle, for example.

             Q.    Okay. So the designer’s focus is driven by the end
             user of the vehicle?

             A.    Purchaser of the vehicle.

Appx1383-1384 (emphases added) (citing Appx0880 (Ex. 2004 ¶10)). Indeed, when

this Court found in a previous case involving auto parts that the design of an auto

body part was important to consumers, and that such parts could embody different


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designs, it identified the relevant consumers as those deciding which car to buy.

Automotive Body Parts Ass’n. v. Ford Global Techs., LLC, 930 F.3d 1314, 1321

(Fed. Cir. 2019).

      As a consequence of the Board’s erroneous definition of the ordinary

observer, it placed undue emphasis on trivial differences, ignoring this Court’s

repeated emphasis on overall visual appearances. In Egyptian Goddess, this Court

cautioned against issuing detailed verbal claim constructions precisely because of

the risk that doing so would lead the factfinder to place undue emphasis upon

particular features of the design instead of its overall visual appearance. Egyptian

Goddess, Inc. v. Swisa, Inc., 543 F.3d 665, 680 (Fed. Cir. 2008).            And, in

International Seaway, this Court held:

             The mandated overall comparison is a comparison taking
             into account significant differences between the two
             designs, not minor or trivial differences that necessarily
             exist between any two designs that are not exact copies
             of one another. Just as “minor differences between a
             patented design and an accused article’s design cannot,
             and shall not, prevent a finding of infringement[,]” so too
             minor differences cannot prevent a finding of anticipation.

589 F.3d at 1243 (quoting Litton Systems, Inc. v. Whirlpool Corp., 728 F.2d 1423,

1444 (Fed. Cir. 1984) (abrogated on other grounds)) (emphases added).

      Further, defining the ordinary observer as the purchaser of a replacement part

would illogically create two different standards for anticipation. For designs not

routinely sold as repair parts, there can be no doubt that the ordinary observer would


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be defined as the purchaser of the article to whom it was marketed in the first

instance. However, for a design sold both as part of an original article and as a repair

part for that article, according to the Board, the ordinary observer would be defined

as a replacement purchaser seeking a design exactly matching that which they are

replacing.2 No case supports such a proposition.

      The Board defined the ordinary observer in a manner contrary to law and

contrary to the evidence in this case. This error infects all of the Board’s findings as

to anticipation. Those findings necessarily lack substantial evidence because the

Board never considered substantial similarity from the perspective of a proper

ordinary observer—the purchaser of a vehicle—but only from the perspective of a

repair shop professional or automobile owner seeking to repair a vehicle with a part

having the identical design as the part being repaired.




2
  As GM argued, repair parts intended to restore a vehicle to its original visual
appearance must correspond to the part they are replacing. See, e.g., Appx0832 et
seq. (GM Response at 15); Appx0838 (GM Response at 21); Appx0841 (“The
protrusion must closely match the perimeter of the hood, A-pillar, and door, and
corresponding surface features of these components, respectively.”); Appx0859
(“The design effect of the lower, rear portion would have been magnified to the
ordinary observer because it must closely match the perimeter edge of the
corresponding door in order to provide a consistent visual impression and
mechanical fit with the door and other components of the vehicle.”).

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      B.    The Board Erroneously Applied GM’s Crowded Field Theory.

            1.     Every difference identified by the Board as defeating
                   substantial similarity was also infected by its “crowded field”
                   approach.

      GM argued that, because the field of fender design was allegedly crowded, as

a matter of law, even trivial differences between Lian and the claimed design would

be significant to the ordinary observer. See Appx0829-0831 (GM Response at

12-14). In its Final Written Decision, the Board purported to reject GM’s crowded

field theory on both legal and factual grounds. Appx0011-0013 (Decision at 11-13).

Nevertheless, the Board found that the ordinary observer would be attuned to the

trivial differences identified by GM because of the amount of prior art.3 For

example, as to the door cut line, the Board determined:

            Considering the evidence here, we find persuasive Mr.
            Peters’ testimony that when considered in light of prior
            art fender designs, an ordinary observer would have
            considered differences, even in nuanced elements such
            the door cut lines, “and these nuanced differences would
            have had a substantial impact on the overall appearance of
            fender designs to the ordinary observer.” Ex. 2004 ¶ 52.

Appx0035-0036 (Decision at 35-36) (emphases added).




3
  To the extent the Board was doing something other than incorporating GM’s
argument, such as concocting a new legal theory, it committed error, as LKQ was
given neither notice of, nor opportunity to respond to such a theory. Qualcomm Inc.
v. Intel Corp., 6 F.4th 1256, 1263-64 (Fed. Cir. 2021).

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      Similarly, the Board found the at most minor differences in creases and

sculpting to be meaningful because of the number of prior art fender designs:

            Considering the crease lines and horizontal visual details
            of the designs, we find persuasive GM’s arguments and
            Mr. Peters’ testimony that an ordinary observer would not
            find the fender body sculpting substantially similar
            between Lian and the claimed design. PO Resp. 32–37
            (citing Ex. 2004 ¶¶ 81–89). Moreover, it is reasonably
            clear that an ordinary observer would be aware of other
            prior art fender designs and would notice specific details
            in the sculpting. See, e.g., Ex. 2008, 20:6–15 (LKQ’s
            declarant, Mr. Hill, agreeing that the sculpting on the
            fender would “be meaningful to an ordinary observer.”).

Appx0039 (Decision at 39) (emphasis added).

      And as to the wheel arch and lower rear terminus, the Board determined:

            Because an ordinary observer would consider at least the
            wheel arch and terminus differences as a relevant part of
            the overall appearance of the claimed design in the
            context of Lian and other known prior art fenders, and
            because these elements are not minor in that they affect the
            overall visual impression of the fender, we are persuaded
            that an ordinary observer would not be so easily deceived
            into purchasing Lian’s fender thinking it to be the claimed
            fender. See Egyptian Goddess, 543 F.3d at 677 (“Where
            the frame of reference consists of numerous similar prior
            art designs, those designs can highlight the distinctions
            between the claimed design and the accused design as
            viewed by the ordinary observer.”).

Appx0033-0034 (Decision at 33-34) (emphasis added).




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      The Board thus concluded that the ordinary observer should be attuned to even

trivial differences because of this improper “crowded field” theory despite having

found that the theory lacked legal and factual support.

             2.     Applying GM’s “crowded field” theory to invalidity yields
                    absurd results.

      The Board’s conclusion that unspecified prior art would cause its ordinary

observer to recognize trivial differences and thus consider them substantial is

erroneous as a matter of law. This Court in Egyptian Goddess stated expressly that

the use of prior art to provide context for evaluation of similarity was appropriate

only as part of the ordinary observer test for infringement; it is not a test for validity.

Egyptian Goddess, 543 F.3d at 678-79 (“We emphasize that although the approach

we adopt will frequently involve comparisons between the claimed design and the

prior art, it is not a test for determining validity, but is designed solely as a test of

infringement.”).

      Applying an approach that renders anticipation more difficult to prove as the

prior art becomes more robust is nonsensical. The point of analyzing the prior art in

the context of infringement is to protect against substantial similarity being found

based solely upon features common in the prior art. Lanard Toys Ltd. v. Dolgencorp

LLC, 958 F.3d 1337, 1344 (Fed. Cir. 2020). That is a risk for design patents because

an accused design does not have to be identical to the claimed design to be

infringing. A design is infringing whenever it is “substantially the same” as the


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claimed design from the perspective of an ordinary observer. Id. at 1341. Design

patents cast a shadow.

      To the extent evaluation of similarity in light of prior art leads courts to find

noninfringement based on minor differences, that is because there is more reason to

worry that the design patent’s shadow will engulf the prior art when there is a lot of

prior art. Thus, the more crowded the field, the narrower the scope of the design

patent. See Egyptian Goddess, 543 F.3d at 675-76 (explaining genesis and effects

of “crowded field”). If it were otherwise, patentees could enforce their patents

against designs that are more different from the patented design than the patented

design was from the prior art.

      In the context of anticipation, however, applying the crowded field in such a

way would yield absurd results. It would mean that the very same piece of prior art

would anticipate a given design at an earlier date but would cease to anticipate that

same design at a later date merely because other designs were contributed to the field

in the intervening time. That is antithetical to the very concept of novelty; what was

once not new cannot later become new.

      The crowded field approach also moves design patent anticipation away from

how the anticipation inquiry functions for utility patents. Pursuant to 35 U.S.C. §

171, design patent anticipation is governed by the same statutory language and

requirements as apply to utility patents under 35 U.S.C. § 102. Int’l Seaway, 589


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F.3d at 1238. In the context of utility patents, the more robust the field of prior art,

the more purported inventions would be found anticipated. The crowded field

approach as applied by the Board has the opposite effect: the fewest designs are

novel at the very inception of the field, and the number of novel designs increases

as the field matures.

      Finally, if an ordinary observer finds the prior art substantially the same as the

patented design, it makes no difference if there are other very similar prior art

references. GM makes much of International Seaway’s statement that the same test

must be applied to infringement and anticipation, Appx1591 (GM Surreply at 6), but

that statement merely stands for the uncontroversial principle that anticipation, like

infringement, must be considered from the standpoint of the ordinary observer. See

Int’l Seaway, 589 F.3d at 1239-40 (explaining that, pursuant to Egyptian Goddess,

the ordinary observer test must be the sole test for anticipation).

      While it is true that the Supreme Court has said that “[t]hat which infringes,

if later, would anticipate, if earlier,” Peters v. Active Mfg. Co., 129 U.S. 530, 537

(1889), that maxim does not require the tests to be identical in every respect. It

merely posits that a simple conditional statement is true:

             If Widget would infringe a patent if later,

             then Widget would anticipate that patent if earlier.




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      In importing the crowded field approach into anticipation, the Board

concluded that the inverse of this conditional statement must be true:

             If Widget would not infringe a patent if later [because of
             a crowded field],

             then Widget would not anticipate that patent if earlier.

      However, basic logic provides that the inverse of a conditional statement is

not the logical equivalent of the original statement. See Tranchita v. Callahan, 511

F. Supp. 3d 850, 874-75 (N.D. Ill. 2021) (citing Capitol Records, Inc. v. Naxos of

Am., Inc., 372 F.3d 471, 480 (2d Cir. 2004); Courtney Taylor, What are the

Converse, Contrapositive, and Inverse?, https://www.thoughtco.com/converse-

contrapositive-and-inverse-3126458 (last accessed Jan. 12, 2022) (“Taylor

ThoughtCo Article”)).

      To provide a simple example, one could assume it is true that “if it rained last

night, then the sidewalk is wet.” Taylor ThoughtCo Article. “The inverse[,] ‘If it

did not rain last night, then the sidewalk is not wet[,]’ is not necessarily true. The

sidewalk could be wet for other reasons.” Id. (emphasis added). In other words, the

truth of the original conditional statement does not render the inverse true. Id.

However, the contrapositive of a conditional statement is its logical equivalent and

necessarily a true statement. Id. Accord Xpedior Creditor Trust v. Credit Suisse

First Boston (USA) Inc., 309 F. Supp. 2d 459, 462 n.1 (S.D.N.Y. 2003). Referring

back to the simple example of the sidewalk, the contrapositive of “if it rained last


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night, then the sidewalk is wet” would be “if the sidewalk is not wet, then it did not

rain last night,” and this, too, is a true statement. Taylor ThoughtCo Article.

      The contrapositive of the maxim set forth in Peters is as follows:

             If Widget would not anticipate a patent if earlier,

             Then Widget would not infringe that patent if later.

See Xpedior Creditor Trust, 309 F. Supp. 2d at 462 n.1 (illustrating the

contrapositive); Peters, 129 U.S. at 537.       Thus, Peters did not require that

anticipation must have an equivalent scope to infringement. Rather Peters only

requires that anticipation have no less scope than infringement. The Peters maxim

does not prohibit a design from anticipating a claimed design if earlier, even if that

same design would not have infringed the claimed design if later. This Court is not

only free, but in fact bound by en banc precedent, to honor Egyptian Goddess’

admonition that its comparison versus the prior art is “not a test for determining

validity, but solely a test for infringement,” Egyptian Goddess, 543 F.3d at 678-79.4

      Applying the crowded field to invalidity reduces anticipation to an absurd

legal mirage, receding as the prior art encroaches. Yet, as shown above, the Board

contorted the anticipation inquiry around this purported “crowded field” theory in

its analysis. The Board’s application of this theory to anticipation in contravention


4
    While we do not understand International Seaway to reject this holding in
Egyptian Goddess, if it is understood to do so, it is International Seaway that must
give way to the Court’s en banc statement to the contrary.

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of this Court’s admonition in Egyptian Goddess reduced anticipation to a nullity and

constituted legal error.

             3.     Analyzing the claimed design and Lian in context of the prior
                    art demonstrates their substantial similarity.

      The similarities between Lian and the claimed design were not features

common in the prior art. This was apparent upon comparing the claimed design and

Lian against GM’s six ‘featured’ “crowded field” prior art references (Appx1294)

and against all of GM’s cited “crowded field” references (Appx1295-1296), as LKQ

did. Each of these comparisons is set forth below. As LKQ demonstrated before

the Board, as compared to the “crowded art,”

             Lian discloses a more identical (1) slanted cut;
             (2) headlamp aperture; (3) upper edge of the fender;
             (4) first crease; (5) second crease; (6) concavity line;
             (7) wheel arch flat; and (8) surface contour pattern than
             any of the “crowding” references, and (9) only one
             discloses a protrusion that is arguably as similar as Lian’s.
             Further, none share the constellation of all of those
             similarities.

Appx1129-1130 (LKQ Reply at 25-26); Appx1312-1314 (Declaration of Jason C.

Hill in Support of LKQ’s Reply (“Hill Reply Declaration”) ¶¶23-24).




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       2
            7                      8
                               5
       1




Appx1294 (annotated).




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     7                      8
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1




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                3   4
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       2
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       1




Appx1295-1296 (annotated).



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GM’s own declarant admitted that no “crowding” reference disclosed an overall

visual appearance that was more similar than Lian to the claimed design.

Appx1128-1130 (LKQ Reply at 24-26), (citing Appx1488-1501 (Peters at 140-153)

(“Q. …. [a]s you sit here today right now, you can’t identify a single one of these

references that you think is closer in overall visual appearance to the ’625 and Lian?

…. The Witness: I can’t in overall visual appearance.”)).

      C.     The Board Failed to Compare the Designs as a Whole.

             1.     The Board applied the wrong test, focusing exclusively on
                    GM’s “checklist of small differences” because it improperly
                    defined the ordinary observer and wrongly applied GM’s
                    crowded field theory.

      A design patent is anticipated if the design is substantially the same as the

prior art in the eyes of an ordinary observer of that type or product. Int’l Seaway,

589 F.3d at 1239–1240 (citing Gorham, 81 U.S. at 528).5 The Federal Circuit has

cautioned when making these determinations that courts must analyze designs as a




5
  Deception is a part of Gorham’s infringement analysis, but it makes no sense to
incorporate that concept into the anticipation analysis. And deception has no place
when the patented item is a fragment of the entire item being presented and sold to
consumers, especially when the appearance of that fragment does not play a
meaningful role in the purchase decision. Because the Board applied an overly
restrictive standard to the ordinary observer in the first instance, and should be
reversed on that ground, this issue need not be resolved in the context of this appeal.
However, since it may be important upon remand, LKQ requests that the Court
clarify the law in this regard.

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whole, and that courts should not place too much emphasis on particular features.

Egyptian Goddess, 543 F.3d at 679-80.

         This Court’s emphasis on the designs as a whole is appropriate because a prior

art reference does not need to be identical to the claimed design for it to anticipate.

Rather, as this Court instructed in International Seaway, the test for anticipation

must take “into account significant differences between the two designs, not minor

or trivial differences that necessarily exist between any two designs that are not exact

copies of each other.” 589 F.3d at 1243. This is consistent with Gorham, in which

the Supreme Court found the defendant’s silverware designs substantially the same

as the claimed design notwithstanding numerous visible differences. See §II.A.2,

infra.

         The Board determined that Lian and the claimed design were not substantially

the same even though the differences between those designs were trivial, particularly

by comparison to the designs in Gorham.            It did so because it believed its

inappropriately defined ordinary observer would be especially attuned to trivial

differences between the claimed design and Lian. The Board’s misapplications of

law caused it to apply an incorrect test for anticipation and caused the Board to lose

sight of the designs’ overall visual appearances and instead to sift through GM’s

checklist of differences, finding any discrepancy to distinguish the designs.




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      When Lian and the claimed design are analyzed as a whole, the two designs

are highly similar and disclose substantially the same design from the perspective of

a correctly defined ordinary observer. No evidence in the record supports a contrary

conclusion. GM’s declarant admitted that he never addressed similarities in his

report and he never compared the designs as a whole; he only “focused on the

differences.”   Appx1110 (LKQ Reply at 6) (citing Appx1411-1413 (Peters at

63-65)). Further, while GM’s expert identified various differences that he thought

would be observable to someone purchasing a replacement fender who was attuned

to the differences because of the number of other fender designs, he never explained

why the designs as a whole were not substantially similar to a vehicle purchaser. See

Appx0906-0907 (Peters Declaration ¶55) (equating the expectations of consumers

of replacement parts with “the ordinary observer, how they approach purchasing

decisions, and the high level of detail that impacts their perception of the overall

appearance of the part.”). See also Appx0905-0906 (GM’s declarant testifying that

parts “must fit and match with adjacent components that the part interfaces with,”

which could only be an issue in the replacement context as a vehicle would not be

designed with mismatched components.).

      The overall similarity between Lian and the claimed design flows from the

staggering number of specific design features that the two designs share, as




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explained in detailed by LKQ’s expert with reference to the annotated figures

illustrated below. Every one of the design similarities (a)-(v) was undisputed:

             ’625 PATENT                                    LIAN
            CLAIMED DESIGN                                PRIOR ART




Appx1305-1309 (Hill Reply Declaration ¶20). The designs are similar in nearly

every respect, and the similarities pervade any comparison. As just a few examples,

the designs have uncannily similar outer perimeters in all views (especially the front


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and top views); they are highly similar in terms of the large features like the designs’

matching pattern of creases (O and Q) with a concavity (R) in between them and the

designs’ near-identically shaped hood cut lines and headlamp apertures (C–F); and

they are even very similar at the level of minute details like the specific contour of

the front portion (G) and the contour of the area above the wheel arch (P). Id.

      Even as to elements that exhibit some difference, like the curvature of Lian’s

wheel arch, the differences are overwhelmed by surrounding similarities, such as the

designs’ prominent wheel arch flats (J), having nearly identical widths, contours,

and inwards bevel angles. Id. As to the protrusion, LKQ’s expert explained that the

designs exhibit numerous striking similarities, including the transition of the hood

cut line (C) into the protrusion; the angle at which the upper edge of the protrusion

intersects the trailing edge at the A-pillar; the length and angle of its trailing edge as

it crosses the A-pillar, the angle at which the trailing edge intersects the U-shaped

notch (B); and the similarity of the protrusions’ overall contouring from all views.

Id. Further, the protrusions are virtually identical from a side view. Id.:




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             ’625 PATENT                                     LIAN
            CLAIMED DESIGN                                 PRIOR ART




      By focusing upon GM’s checklist of trivial differences, the Board ignored the

overwhelming weight of similarities between the two designs. From the perspective

of a properly defined ordinary observer given such time and attention as a purchaser

ordinarily gives, the designs are highly similar.

             2.     GM’s “checklist of differences” further led the Board astray
                    because several of the alleged differences were not real.

      As discussed at length above, the Board’s anticipation analysis evaluated

substantial similarity from the wrong perspective, placed undue emphasis on trivial

differences based upon the mere existence of other prior art, and failed to consider

substantial similarity of the designs as a whole. Making matters worse, the Board

also focused on illusory features that are not disclosed in the patented design, and

features so minor they could not possibly affect the overall visual impression created

by the design. In particular, the Board focused on: (1) an illusory or at most trivial

difference in the designs’ sculpting (2) a nonexistent “third” crease; and (3) a minute


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difference in upper surfaces of Lian and the claimed design’s respective protrusions.

Appx0016-0017.

      First, regarding the alleged difference in the designs’ sculpting, the Board

acknowledged that “[a]t first glance, the sculpting between the designs exhibits some

similarity in location and arrangement.” Appx0038-0039. However, the Board then

distinguished the designs based on testimony that GM’s declarant had himself

acknowledged to be inaccurate, and by reference to a feature that the Board itself did

not consider “prominent.” Appx0039-0045. As to Lian’s first and second crease,

the Board “found persuasive Mr. Peters’ testimony that ‘Lian depicts substantially

linear, angled lines,’ and that an ordinary observer would have recognized these lines

as elements integral to the overall appearance of Lian that differ from the design.”

Appx0043. Yet, Mr. Peters himself admitted that Lian’s first and second creases

were curved and arcuate; not linear or angular. Appx1112, Appx1122 (LKQ Reply

at 8, 18) (quoting Appx1436-1437, Appx1440-1442, Appx1455-1456 (Peters at

88-89, 92-94, 107-108)).

      Further, the Board “disagreed with GM that the concavity line can be

considered prominent.” Appx0045 (alterations and quotations omitted). Yet, the

Board nonetheless concluded that “the concavity line, like the first and second

creases, presents a nuanced difference in the claimed design that contributes to a

visually disparate sculpting and overall appearance of the claimed design as


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compared to Lian.” Appx0045. Thus, even though it could neither articulate any

particular difference between the concavity lines of the two designs nor any reason

why the concavity line would be significant, the Board concluded that a “nuanced

difference” distinguished the designs.

      Second, the Board seems to have distinguished Lian from the claimed design

on the ground that the claimed design allegedly had a “crease” at the location where

the drawings reflect an inflection line. There is no crease in the claimed design at

the location of the inflection line. As illustrated below, a crease causes a change in

direction of those lines that intersect it.         Appx0159 (Petition at 17) (citing

Appx0379-0380 (Declaration of Jason C. Hill ¶50)). That effect is evident in the

design’s Second Crease, as the lines that intersect that crease (i.e., the door cut line

and contour lines) change direction where they intersect the crease (annotated

green). In contrast with that Second Crease, there is no change in direction of the

door cut line of the fender where it intersects the inflection line, at the wheel arch

flat line where it intersects the inflection line, or in the contour lines on either side

of the inflection line (annotated orange):




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                                      ’625 PATENT


              CONTOUR LINES CHANGE
              DIRECTION WHERE THEY                  CHANGE OF DIRECTION AT
                  INTERSECT THE                       SECOND CREASE’S
                 SECOND CREASE                         INTERSECTION WITH
                                                           REAR EDGE
              CONTOUR LINES ABOVE &
               BELOW HAVE IDENTICAL                 NO CHANGE OF DIRECTION
              CURVATURE, AND DO NOT                  AT INTERSECTION WITH
                 CHANGE DIRECTION                          REAR EDGE


             NO CHANGE OF DIRECTION
               AT WHEEL ARCH FLAT
                  INTERSECTION




                        Appx0063, FIG. 1 (detail) (annotated)

       GM’s expert admitted in cross-examination that there was no crease or surface

change along that location.            Appx1119-1120 (Reply at 15-16) (citing

Appx1324-1327 (Hill Reply Declaration ¶¶41-44); Appx1468-1475 (Peters at

120-127). In reality, the inflection line is merely the apex of the fender’s curvature,

i.e., the top of a smooth curved surface. Id. And it was undisputed that the apex of

the Lian fender’s curvature occurs at the same location.6 See Appx0192 (Petition at

50):


6
  The Board criticized LKQ’s demonstrative showing where the apex of the curve of
Lian’s fender was located, stating “in Lian ‘[t]here is simply no crease at the location
annotated with a crease by the Petition.’” Appx0040 (Decision at 40) (quoting Ex.
2004 ¶77). However, LKQ never asserted that Lian has a crease at that location;
LKQ stated that the apex of the curve of Lian’s fender was at the same location as it
is in the claimed design. Appx0192-0194 (Petition at 50-52).

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             ’625 PATENT                                      LIAN
            CLAIMED DESIGN                                  PRIOR ART




      Appx0063, FIG. 2 (annotated)           Appx0450, FIG. 4 (cropped, annotated)

      Oddly, even though the Board could not articulate whether the claimed design

had an inflection line or a crease, it persisted in distinguishing the designs as though

the feature were a crease:

             Whether termed an inflection line, or a crease, our
             consideration of this feature is consistent with Mr. Peters’
             testimony that Lian lacks such a feature. …. Mr. Peters
             explains persuasively that different from the claimed
             design, in Lian “[t]here is simply no crease at the location
             annotated with a crease by the Petition.” Ex. 2004 ¶77.

Appx0040 (Decision at 40).

      Third, the Board exaggerated the difference between the designs’ protrusions.

The Decision mischaracterized the fold-over in Lian’s protrusion to suggest that it

extended the length of the protrusion and increased in width to coincide with the full

width of the A-pillar (as indicated by the right red bracket in the Board’s cited




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annotated image, below). Appx0037-0038 (Decision at 37-38); Appx1323 (Hill

Reply Declaration ¶¶37):




      As seen below, the intermittent fold-over in Lian’s protrusion does not extend

from the front to the back or expand in width as found by the board, but rather fades

away partway up the protrusion indisputably creating the same visual effect as the

claimed design’s fold-over from the perspective of the ordinary observer (causing

the viewers eyes to continue up the protrusion):




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Appx0448-0452, Lian FIGS. 1, 4, 6 (cropped, annotated). See also Appx1323-1324

(Hill Reply Declaration ¶38):

            As a viewer’s gaze tracks rearwards along the fender, it
            would be drawn upwards along Lian’s A-pillar just as it
            would up the claimed design’s embodiment’s A-pillar …
            as the intermittent crease merely represents a foldover
            along a portion of the protrusion and terminates halfway
            down the protrusion. Further, it terminates at a height



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             above the notch of Lian’s fender, thus leading the viewer’s
             gaze upwards and rearwards[.]

      Further, the Board never determined whether or why an ordinary observer

would find this extremely small portion of the designs enough to affect the

substantial similarity of the designs as a whole. Rather, the Decision concluded only

that some small difference existed, and that “play[ed] a role in the overall appearance

of the designs.” Id. Indeed, LKQ’s expert testified that the designs’ protrusions

exhibited striking similarities, Appx1305-1309 (Hill Reply Declaration ¶20). The

Board neither addressed LKQ’s detailed comparison of the protrusions nor Mr.

Hill’s testimony.

      Because it incorrectly defined the ordinary observer and then considered

substantial similarity in light of a purported crowded field, the Board issued an

overly-detailed verbal claim construction so disconnected from the drawings that it

relied on features that the drawings did not disclose. In that respect, the Board’s

error was even more egregious than the ITC decision this Court reversed in Crocs,

Inc. v. Int’l Trade Comm’n. 598 F.3d 1294, 1302-1303 (Fed. Cir. 2010). In that

case, the ITC issued a determination of non-infringement after having developed and

relied upon a detailed verbal claim construction that “led the administrative judge

and the Commission away from consideration of the design as a whole.” Id. The

design patents and a subset of the allegedly infringing articles at issue in that case

are replicated below:


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Id. at 1304.

      The Court found the Commission’s error “apparent in [its] explicit reference

to two details required by the written claim construction but not by the [design patent

at issue’s] drawings: (1) a strap of uniform width, and (2) holes evenly spaced around

the sidewall of the upper.” Id. at 1303. The Court held that:

               the Commission “placed undue emphasis on particular
               details of its written description of the patented design[,]”
               which “became a mistaken checklist for infringement.
               Without a view to the design as a whole, the commission
               used minor differences between the patented design and
               the accused products to prevent a finding of infringement.
               In other words, the concentration on small differences in
               isolation distracted from the overall impression of the
               claimed ornamental features.

Id. at 1303-1304. Similarly here, the Board’s entire approach was skewed by an

overly-detailed claim construction and emphasis on small differences based on

GM’s checklist of differences, which distracted from the overall impression of the

claimed ornamental features.



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III.   THE BOARD ERRED BY REFUSING EVEN TO CONDUCT A FULL
       OBVIOUSNESS ANALYSIS
       Even if Lian did not anticipate the ‘625 patent, it surely rendered the claimed

design obvious to a designer of ordinary skill, especially in further view of the

closely related design disclosed by the 2010 Hyundai Tucson publication. Indeed,

it was undisputed that the Hyundai Tucson discloses every alleged difference

between Lian and the claimed design. Even if it did not, all of the alleged differences

constituted routine modifications that would have been obvious to a designer of

ordinary skill in the art. Yet, the Board cut the inquiry short, foreclosing obviousness

before considering even a single prior art reference or what would be a routine

change to an ordinary designer. It did so on the basis that LKQ allegedly failed to

correctly discern the elements of the claimed design. Appx0050-0051 (Decision at

50-51). That short-circuiting was legal error. It was also factually incorrect, because

LKQ’s papers addressed in detail every aspect of the claimed design made of issue

in the proceeding.

       Then, in further addressing LKQ’s obviousness grounds “[f]or purposes of

completeness, and alternatively,” the Board still refused to consider whether a

DOSA would have found the claimed design obvious over the combination of Lian

and the Tucson, or the general knowledge and skill of a designer. The Board refused

to even perform that analysis because it determined that Lian alone was not




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“basically the same” under In re Rosen, 673 F.2d 388, 391 (CCPA 1982). Appx0058

(Decision at 58). But Rosen cannot survive KSR.

      A.     The Rosen Requirement to Identify a Single Reference That Is
             “Basically the Same” as the Claimed Design Is Not Consistent with
             KSR.
      To determine whether a claimed design would have been obvious to a designer

of ordinary skill in the art, this Court’s predecessor developed a multi-part test: first,

the trial court must find “a single reference, ‘a something in existence, the design

characteristics of which are basically the same as the claimed design.’” Durling v.

Spectrum Furniture Co., Inc., 101 F.3d 100, 103 (Fed. Cir. 1996) (quoting Rosen,

673 F.2d at 391).

             This requires the trial court to: (1) discern the correct
             visual impression created by the patented design as a
             whole; and (2) determine whether there is a single
             reference that creates ‘basically the same’ visual
             impression. In comparing the patented design to a prior art
             reference, the trial court judge may determine almost
             instinctively whether the two designs create basically the
             same visual impression.

Id. Then, once the primary reference is identified:

             other references may be used to modify it to create a
             design that has the same overall visual appearance as the
             claimed design. … These secondary references may only
             be used to modify the primary reference if they are “so
             related [to the primary reference] that the appearance of
             certain ornamental features in one would suggest the
             application of those features to the other.”




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Id. (quoting Borden, 90 F.3d 1570, 1575 (Fed. Cir. 1996)) (citing In re Harvey, 12

F.3d 1061, 1063 (Fed. Cir. 1993)).

      This restrictive, formulaic test, and particularly its requirement that the court

identify a single prior art reference the design of which is “basically the same,” is

inconsistent with KSR. 550 U.S. at 407, 415-21. Even if the Rosen test were

consistent with KSR, the Board erred in denying that Lian constituted an appropriate

primary reference even under the current test.

      For obviousness, it is not the ordinary observer but the designer of ordinary

skill whose perspective matters. A design patent is unpatentable “if it would have

been obvious to a designer of ordinary skill who designs articles of the type

involved.” MRC Innovations, Inc. v. Hunter Mfg., 747 F.3d 1326, 1331 (Fed. Cir.

2014) (citing Titan Tire Corp. v. Case New Holland, Inc., 566 F.3d 1372, 1380–81

(Fed. Cir. 2009)). “More specifically, the inquiry is whether one of ordinary skill

would have combined teachings of the prior art to create the same overall visual

appearances as the claimed design.” Durling, 101 F.3d at 103 (citing Borden, 90

F.3d at 1574).

      The C.C.P.A.’s artificial requirement that a design patent may only be deemed

obvious to a designer of ordinary skill in the art if a challenger can first identify a

“primary reference” that discloses a design that is “basically the same” as the

claimed design misdirects the obviousness inquiry away from consideration of what


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would have been obvious to designers. Such a rigid and mandatory formula is also

inconsistent with the expansive and flexible approach required by the Supreme

Court’s decision in KSR, which governs all questions of patent obviousness under

35 U.S.C. § 103. Rosen and its progeny cannot survive KSR.

      In KSR, the Supreme Court abrogated the Federal Circuit’s rigid “teaching,

suggestion, or motivation” test (TSM test). That test required, as a predicate for

modifying one reference with another, that the prior art disclose “some teaching or

suggestion to combine the prior art teachings.” KSR Int’l, 550 U.S. at 407 (citing

cases).

      As the Supreme Court said, the fundamental problem was the “narrow

conception of the obviousness inquiry reflected in [] application of the TSM test.”

Id. at 419 (emphasis added) (“What matters is the objective reach of the claim. If it

extends to what is obvious, it is invalid under § 103.”).

             We begin by rejecting the rigid approach of the Court of
             Appeals. Throughout this Court’s engagement with the
             question of obviousness, our cases have set forth an
             expansive and flexible approach inconsistent with the way
             the Court of Appeals applied its TSM test here. … [T]he
             principles laid down in Graham reaffirmed the ‘functional
             approach’ of Hotchkiss[.] To this end, Graham set forth a
             broad inquiry and invited courts, where appropriate, to
             look at any secondary considerations that would prove
             instructive.”




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Id. at 415 (citations omitted); see also id. at 427-28 (“In rejecting the District Court's

rulings, the Court of Appeals analyzed the issue in a narrow, rigid manner

inconsistent with §103 and our precedents.”).

      The Supreme Court’s directive in KSR applies to design patents just as it

applied to utility patents. 35 U.S.C. § 103 governs both:

             In Laverne, [the Court of Customs and Patent Appeals]
             recognized that the [Patent] statute does not specifically
             create a test for nonobviousness of a design which is
             different from that for inventions defined in 35 U.S.C. §
             101. That § 103 applies to designs follows from § 171,
             which states: ‘The provisions of this title relating to
             patents for inventions shall apply to patents for designs.”

In re Nalbandian, 661 F.2d 1214, 1216 (CCPA 1981) (citing In re Laverne, 356 F.2d

1003, 1006 (CCPA 1966)). Thus, the Supreme Court’s interpretation of the same

language of 35 U.S.C. § 103 in KSR, rejecting the use of rigid formulas to limit the

obviousness analysis, applies with equal force to design patent obviousness.

      This Court has never held to the contrary. Titan Tire Corp. v. Case New

Holland, Inc., the only case in which this Court addressed the issue, acknowledged

that KSR likely governs design patent obviousness just as it governs utility patent

obviousness. 566 F.3d at 1384-85 (“Design patents, like utility patents, must meet

the nonobviousness requirement of 35 U.S.C. § 103, and it is not obvious that the

Supreme Court necessarily intended to exclude design patents from the reach of

KSR.”). However, Titan Tire did not need to resolve that question because “[w]ith



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or without KSR,” a preliminary injunction was improper in that case because the

patentee was “unlikely to succeed on the merits of the validity issue.” Id. at 1385.

      Rosen’s requirement that a design patent challenger identify, as a predicate to

the obviousness analysis, a “primary reference” that is “basically the same” as the

claimed design represents an even more rigid bright-line barrier than the TSM test

did. It forces the obviousness inquiry through a rigid and mandatory formula that

only serves to distract from the fundamental question under 35 U.S.C. § 103:

obviousness to a person of ordinary skill in the art.

      This misalignment between the Rosen test and design practice is especially

clear in the unique and specialized context of automobile design. As Mr. Hill, an

accomplished automobile designer with experience as a senior designer at Mercedes-

Benz and Porsche, testified:

             37. From a design process standpoint, the process used
             by a vehicle designer is one of inspiration combined with
             creative ideation in order to arrive at a visually pleasing
             result while respecting any engineering and manufacturing
             constraints. Generally, the process starts by understanding
             what the theme of the design may be, such as “expressive
             front end design” or “dynamic side sculpture design.”
             From there, the designer would identify key elements that
             make up the theme such as “large hexagonal shaped grille
             opening.” Once the primary theme is established, the
             designer tries various secondary themes for the supporting
             areas such as lights, intakes, etc.




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Appx0370-0374 (Declaration of Jason C. Hill ¶37 et seq).7 This process necessarily

draws elements from “many different sources” for an “incredible range of

inspiration.” Ex. 1044 at 47. Accord Appx0372-0373 (Mr. Hill explaining that

designers “can and do look to many sources for inspiration for design,” and that it is

“common during the design process to keep images, both of automotive origin and

other items, at the ready for a reminder of what the style of the final product could

be.”). Indeed, Mr. Hill testified that “[d]esign can be, and often is, driven by

marketing goals and brand positioning.” Id.

      In this case, Rosen’s primary reference requirement led the Board to examine

in minute detail part lines (such as the rear edge of the fender) that an auto designer

would not consider important to the design. See Appx1319 (Hill Reply Declaration

¶34) (explaining that vertically oriented part-lines such as the door cut line are

“mainly functional parting lines that carry little visual significance and are intended

to disappear rather than stand out in the design of the vehicle”). It also led the Board

to ascribe outsized importance to features that DOSAs would have found routine to

modify in the manner claimed, such as the wheel arch, door cut line, and lower rear




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 More fundamentally, focusing on the design process would have shifted the focus
away from the fender as a separate part. As the record demonstrated, an individual
auto body panel such as a fender “is not individually designed, and on its own only
constitutes a fragment of the design of an entire automobile.” Appx1300-1301 (Hill
Reply Declaration ¶8).

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terminus. See Appx1332-1333 (Hill Reply Declaration ¶53); Appx1335-1336 (Hill

Reply Declaration ¶¶57-58).

      The Rosen requirement reduces the ordinary designer to an automaton in

contravention of the Supreme Court’s directive in KSR. An ordinary automobile

designer is “a skilled design professional, with the creativity that would be expected

of such a professional and the capability to envision solutions to at least routine

problems encountered in the field of automotive design.” Appx1302 (Hill Reply

Declaration ¶12). But Rosen denies the designer any creativity to deviate from

existing designs, declaring that nothing is obvious to designers of ordinary skill in

the art except trivial modifications of designs that are already “basically the same.”

      The Rosen approach supplants the ordinary knowledge and creativity of the

designer with an “almost instinctive[]” determination of “basic similarity” by the

trial court judge. Durling, 101 F.3d at 103. As the Supreme Court has emphasized,

obviousness must take into account the ordinary knowledge and creativity of the

person of ordinary skill in the art. “A person of ordinary skill is also a person of

ordinary creativity, not an automaton.” KSR, 550 U.S. at 421. There is absolutely

no reason to treat designers differently in this respect.

             1.     Other Circuits Have Applied a Test Consistent with KSR.
      Prior to the creation of the Federal Circuit, other Circuits considering design

patent obviousness properly focused their obviousness inquiries upon how a DOSA



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would approach designs of the type at issue and did not require identification of a

single primary reference. For example, in Sidewinder Marine, Inc. v. Starbuck

Kustom Boats & Prods., Inc., the Tenth Circuit found a design patent directed to a

speedboat obvious in view of automobile prior art because an ordinary boat designer

would have looked to automotive prior art. 597 F.2d 201, 209–211 (10th Cir. 1979).

 SIDEWINDER MARINE DESIGN PATENT               CYCOLAC RESEARCH VEHICLE




There are clear differences between the designs, such as the car naturally having a

blunter bow than the speedboat, and no one reference is “basically the same” as the

patented design. Nonetheless, the district court and the Tenth Circuit credited

testimony that boat designers would be aware of developments in the field of

automotive design, and the Tenth Circuit further considered the testimony of boat

designer James Starbuck as to how a boat designer would view the prior art Cycolac


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car design, cutting through the superficialities to perceive what the car design would

have suggested to such a designer. Id. at 210 n. 13 (“(I)f you look at this car and the

upper deck section … you could see instantly that that is a nifty boat design that

affords all the features we’ve been talking about in these magazines.”). The Tenth

Circuit thus concluded the Cycolac exhibited “considerable similarity to the

Sidewinder design.” Id.

      Sidewinder Marine, like KSR, placed the focus of the obviousness inquiry not

on a judge’s perception of the designs, but on the perception of a boat designer, as

required by the statute. See also Fields, 472 F.2d at 1306 (noting the distinction

between a lay person’s perception and that of an ordinary designer and cautioning

against the risk that the designer’s perspective may be lost when applied by “an

ordinary judge who lacks that skill.”). However, Rosen and Durling do not permit

such a flexible, detailed analysis of how a DOSA would have viewed the prior art

and claimed design; instead, they foreclose the entire obviousness analysis if the trial

court judge “almost instinctively” determines that no single reference is “basically

the same” as the claimed design. Durling, 101 F.3d at 103.

      Nothing in the statute dictates that a single reference must achieve some

threshold degree of similarity before obviousness may even be assessed; it prohibits

patents “if the differences between the claimed invention and the prior art are such

that the claimed invention as a whole would have been obvious before the effective


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filing date of the claimed invention to a person having ordinary skill in the art….”

35 U.S.C. § 103. Indeed, the overwhelming majority of section 103 cases involving

utility patents combine references rather than focusing on a single primary reference.

      Just as “common sense directs one to look with care at a patent application

that claims as invention the combination of two known devices according to their

established functions,” KSR Int’l, 550 U.S. at 418, common sense likewise dictates

that one must look with care at a design patent that differs from one prior design

only in ways disclosed by a single other prior art reference. That is undisputedly the

case here, yet the Board refused to even evaluate the legal question due to its primary

reference requirement. This further demonstrates that Rosen represents precisely the

type of rigid, preventative rule that denies recourse to common sense, and that is

incompatible with KSR.

             2.     The Current Standard for Testing Obviousness Improperly
                    Conflates Anticipation and Obviousness.

      Rosen’s requirement that a primary reference be “basically the same” as the

claimed design has another flaw: it gives the tests for design patent anticipation and

obviousness the same scope. Logically, obviousness must encompass more designs

than anticipation. Failing to do so would render section 103, the “ultimate condition

of patentability,” cf. Nonobviousness—The Ultimate Condition of Patentability

(John F. Witherspoon ed., 1980), entirely superfluous.




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      A single reference cannot anticipate a claimed design unless it is

“substantially the same” from the perspective of the ordinary observer. Int’l Seaway,

589 F.3d at 1239. Under Rosen, the same reference cannot render a design obvious,

and indeed cannot even be used in combination with other references, unless the

court concludes (“almost instinctively”) that the prior art design is “basically the

same.” Other than the difference in perspectives (ordinary observer vs. ordinary

designer), it is entirely unclear what the difference is between those standards.

Indeed, to the extent the ordinary observer is less discerning of differences than the

ordinary designer, it is possible that the current legal standard makes it easier to

prove that a single reference anticipates than that it renders the design obvious.

“Substantial” similarity permits a fair bit of difference, as in Gorham and in

copyright cases that use the same term. But even things that are substantially similar

may not be “basically the same” design. An approach that collapses obviousness

and anticipation cannot be a proper interpretation of the language of section 103 or

of KSR.

      B.     Lian Must Be Sufficient as a Primary Reference, and Alone or In
             Combination with the Tucson Renders the Claimed Design Obvious.
      Not only did the Board err in requiring an artificial prerequisite before

conducting the obviousness analysis, but it erred in concluding that Lian did not

qualify as a primary reference. As explained above, the Decision acknowledged that

the differences it identified between Lian and the claimed design were, at most,


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“small.” Yet, in its obviousness analysis, the Board determined that the designs were

not “basically the same” because the ordinary designer would have noticed these

trivial differences. However, small differences for anticipation must remain small

differences for obviousness. The Decision never addresses this contradiction,

merely determining in its obviousness analysis if the features comprising its

checklist were different. Identifying whether there are differences and then setting

forth a conclusory determination that the designs are therefore not basically the same

is not the appropriate basic similarity analysis.

      The Board disregarded the designs’ overwhelming similarities, both visual

and thematic, and instead hunted for any differences, regardless of their significance

to a designer. For example, the Board focused extensively on the wheel arch and

lower rear terminus, features that both sides’ expert declarants agreed were routinely

modified. Appx1123-1127. Further, LKQ demonstrated that the expression of both

of those features in the ’625 Patent was conventional to a DOSA, and that a DOSA

would have had specific motivation to change them to match the ’625 Patent’s

expression. Id.

      Similarly, the Board concentrated on a difference in how the fenders were

terminated at the bottom while ignoring the extensive record evidence establishing

that an ordinary automobile designer would have found it obvious to modify Lian’s

lower rear terminus by cutting it at the rocker panel, as the claimed design does. See


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e.g., Appx0407, Appx0413-0417 (Declaration of Jason C. Hill ¶78, ¶¶86-89);

Appx1123-1127 (Reply at 19-23); Appx1335-1336 (Hill Reply Declaration at ¶58).

Relatedly, the Board created a new verbal claim construction that ignored that this

was only a simple difference in one of three possible cut locations.8 Appx1311-1312

(Hill Reply Declaration ¶22); Appx0016 (Decision at 16) (“A consistent width lower

rearward terminus shape defined between the wheel arch and door cut line.”). The

Board then concluded that “Lian’s terminus is also visibly different from the claimed

design,” having a “rearward protrusion forming a more sharply curved lower portion

of the door cut line.” Appx0054 (Decision at 54). When analyzed correctly, the

triviality of that difference to an automobile designer becomes clear, and such a

designer would have found the designs strikingly similar notwithstanding the

difference in cut location.

      Finally, the Board zeroed in on a minute difference on the top of the

protrusion. Meanwhile, the Board barely discussed the overwhelming similarities

between the claimed design and Lian, illustrated above, which make the designs

virtually identical in overall impression. Specifically, the Board largely ignored the

striking and complex pattern of creases, concavities, and inflections along the side

of the fenders, their distinctive front elevation profiles, their entire upper outlines,


8
  Introducing and adopting a new claim construction (that no party had advocated)
in its Decision deprived LKQ of notice or an opportunity to respond and constitutes
legal error. See Qualcomm Inc., 6 F.4th at 1263-64.

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their headlamp aperture shapes, the distinctive manner in which the fenders fold over

the first crease to meet the hood, and the fenders’ almost identically-configured

protrusions. Appx1110-1115 (LKQ Reply at 6-11).

      Considering the similarities spanning nearly the entire surface of the claimed

design, Lian is far more similar to the claimed design than many of the references

this Court and the C.C.P.A. have approved as primary references under Rosen, or

even as obviousness references under the C.C.P.A.’s prior standard. For example,

as Mr. Hill explained in his Declaration in Support of LKQ’s Reply, Lian is far more

similar to the claimed design than the prior art in Carter was to the claimed design:

            CLAIMED DESIGN                                 PRIOR ART

                                                NO
                                              TAPERED
                                               FLAP

               EDGE
                TRIM




                                              CINCHED WAIST-            NO EDGE TRIM;
  WAISTBAND CUT TO         TAPERED            BAND EXCEEDING             DIFFERENT
  NEAR WIDTH OF FLAP        FLAP               WIDTH OF FLAP           BUTTON DESIGN
  & BUTTON-FASTENED



Appx1344, Appx1347 (Hill Reply Declaration ¶¶66, 70) (citing Carter, 673 F.2d at

1381) (annotated).

      Likewise, the claimed design in Cooper, decided under the C.C.P.A.’s even

more restrictive ordinary observer test for design patent obviousness, was held


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obvious in view of a primary reference evincing far more substantial differences than

those between Lian and the claimed design:

             CLAIMED DESIGN                               PRIOR ART


   FLAT ROOF W/                                                         CONICAL ROOF
   NO OVERHANG
                                                                        W/ OVERHANG


                                                                         MULTIPLE
   NO WINDOWS
                                                                          WINDOWS



   FIVE HOOPS:                                                          FOUR HOOPS:
  ONE CENTERED                                                            NONE IN
   AND NARROW                                                           CENTER AND
  GAPS BETWEEN                                                           WIDE GAPS
    END PAIRS                                                            BETWEEN
                                                                         END PAIRS

                       DOUBLE DOOR;                   SINGLE DOOR
                        NO AWNING                     WITH AWNING




Appx1345, Appx1347-1378 (Hill Reply Declaration ¶¶66, 71) (citing In re Cooper,

480 F.2d 900 (CCPA 1973) (annotated). Notably, the claimed design there was

found obvious notwithstanding visible differences from the prior art in terms of the

shape of its roof and accompanying overhang, the number, placement, and visual

appearance of its ‘ribs,’ the presence of windows in one and lack of windows in the

other, the presence of a portico in one and absence in the other, and the inclusion of

a single-door versus a differently proportioned double-door. Id.




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      And in Nalbandian, the C.C.P.A. held a claimed illuminable tweezer design

obvious over a single prior art reference despite numerous aesthetic differences

between that reference and the claimed design:

                 CLAIMED DESIGN (TOP) VS. PRIOR ART (BOTTOM)


             LONGITUDINAL                          SMALLER OVAL          STRAIGHT
               FLUTING                              FINGER GRIPS          PINCERS




                                  LATERAL              TAPERED           INWARDLY
                                  FLUTING            FINGER GRIPS      CURVED PINCERS




Appx1345-1347 (Hill Reply Declaration ¶¶66, 69) (citing In re Nalbandian, 661

F.2d 1214, 1215-18 (CCPA 1981) (differences annotated). The court found the

differences in the finger grips and pincers to be de minimis, and the difference in the

direction of the fluting obvious because the modification was well within the skill of

an ordinary designer in the art. Id. at 1217-18.




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      In assessing the “basic similarity” between Lian and the claimed design, the

Board glossed over the numerous similarities identified by LKQ, focusing instead

on its checklist of alleged differences without any regard for whether they would

have been obvious to a DOSA or impacted the overall visual similarity. Any

reasonable application of the test for obviousness would have found Lian’s strikingly

similar fender design basically the same as the claimed design.

      C.     The Board’s Erroneous Refusal to Consider the Tucson Reference
             and the Ordinary Designer’s Knowledge Was Prejudicial.
      The Board’s failure to consider the combination of Lian and the Tucson

reference is particularly problematic given Mr. Hill’s unrebutted testimony that, for

every feature of Lian alleged to be different than the claimed design, the Tucson

suggested    a corresponding     feature virtually    identical to that claimed.

Appx1337-1338 (Hill Reply Declaration ¶¶60-61). See Becton, Dickinson & Co. v.

Baxter Corp. Englewood, 998 F.3d 1337, 1344 (Fed. Cir. 2021) (Board’s factual

determination contrary to uncontested expert testimony lacked substantial evidence).

This is clear upon comparing the designs and focusing on the wheel arch, fender

terminus above the rocker panel, protrusion/hood interface and door cut line. See

Appx1339:




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 ’625 PATENT                 LIAN                   TUCSON
CLAIMED DESIGN         PRIMARY REFERENCE       SECONDARY REFERENCE




                        Appx0450, FIG. 4               Appx0464
Appx0063, FIG. 2
                       (cropped, annotated)        (cropped, rotated)




                        Appx0449, FIG. 1               Appx0462
Appx0064, FIG. 3
                       (cropped, annotated)        (cropped, flipped)




                        Appx0451, FIG. 5               Appx0462
Appx0064, FIG. 4
                       (cropped, annotated)        (cropped, flipped)




                        Appx0452, FIG. 6               Appx0453
Appx0063, FIG. 1
                       (cropped, annotated)        (cropped, flipped)


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      D.     The Board Erred in Refusing to Consider LKQ’s Obviousness
             Grounds for Purportedly Insufficient Claim Construction.

      The Board also denied LKQ’s obviousness ground before analyzing a single

prior art reference because of a purportedly incomplete verbal claim construction,

which it believed was required under the first prong of the overly restrictive Rosen

test. If this Court recognizes that Rosen is no longer good law, this objection must

likewise fail.

      Even if Rosen remains good law, the Board erred by limiting its analysis to

LKQ’s verbal claim construction without regard to LKQ’s subsequent analysis,

much less its subsequent development of the record on Reply. This Court has held

that neither High Point nor Durling requires a verbal claim construction at all, much

less an exhaustive one. MRC Innovations, 747 F.3d at 1332. Rather, all that is

required is for the lower court to “describe the claimed design in words so that the

parties and appellate courts can discern the trial court’s reasoning in identifying a

primary reference.” Id. To the extent this requirement even applies to parties, the

Board’s limitation of the inquiry to LKQ’s formal claim construction was improper

and inconsistent with this Court’s decision in MRC Innovations. It is indisputable

that LKQ’s papers, considered as a whole, sufficiently described the design’s

features.




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      In MRC Innovations, the district court, in finding a design patent on a jersey

for dogs invalid as obvious, “did not expressly undertake to translate the claimed

design into a verbal description,” and instead described the design in comparing it

with the prior art. Id. That comparison addressed only eight elements of the claimed

design: three “key similarities” (“an opening at the collar portion for the head, two

openings at and sleeves stitched to the body of the jersey for limbs, and a body

portion on which a football logo is applied”); two “additional similarities” (that they

were “primarily made of a mesh and interlock fabric” and contained “at least some

ornamental surge stitching”); and three differences (a V-neck collar versus a round

neck; interlock panels on the sides rather than mesh; and additional ornamental surge

stitching on the rear). Id. Yet, that description was enough to make “entirely clear

from the district court’s opinion what it considered to be the relevant design

characteristics of the ’488 patented design.” Id.

      Finally, even if the Board had stated the correct legal standard, it erred in

applying that standard. The Decision identifies no specific feature that LKQ “failed

to adequately take account of,” and instead merely asserts as much in a conclusory

manner. Appx0050-0051 (Decision at 50-51). However, it is indisputable that every

single feature of the design raised by either party or the Board was addressed by at

least one of LKQ’s Petition or Reply.




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      LKQ’s Petition presented a far more rigorous breakdown and analysis of the

claimed design than that approved in MRC Innovations, especially considering its

analysis of the designs’ similarities and differences both as a whole and in terms of

specific features. In fact, the Board acknowledged in its Institution Decision that

LKQ’s Petition had:

             assessed in comparison to Lian, in detail and with analysis,
             many of the visually prominent elements that contribute to
             the overall appearance of the claimed design, including
             inter alia, the top protrusion, u-shaped notch, wheel arch,
             first and second creases, inflection line and concavity line.

Appx0799 (Institution Decision at 22). Then, following GM’s Response, LKQ’s

Reply addressed each of GM’s six alleged differences in detail, Appx1114-1127

(LKQ Reply at 10-23), as well as over twenty specific similarities between the

designs in minute detail. Appx1111-1114 (LKQ Reply at 7-10). Thus, it is clear

that LKQ did “identify the correct visual impression of the patented design taken as

a whole.” Had the Board considered any of LKQ’s analysis in its Petition, much

less its Reply, it could not reasonably have concluded that LKQ “failed to identify

the correct visual impression of the patented design taken as a whole.” It is clear

that the Board limited its assessment of LKQ’s construction to the initial verbal

claim construction set forth in the Petition. This misapplication of the Durling test

constitutes legal error.




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      Further and regardless, if Durling requires an exhaustive verbal claim

construction (or any claim construction) as a predicate to the obviousness inquiry,

that would constitute an even more rigid and artificial limitation on the obviousness

inquiry than that presented by the Rosen step. For the same reasons as set forth

above, such a restriction could not have survived the Supreme Court’s decision in

KSR. 550 U.S. at 419-422.

                                 CONCLUSION

      The decision of the Board should be reversed, or alternatively remanded for

new proceedings under a proper legal standard.




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                                         Respectfully submitted,

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           ADDENDUM
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Trials@uspto.gov                                   Paper No. 28
571-272-7822                                       Entered: August 4, 2021




       UNITED STATES PATENT AND TRADEMARK OFFICE
                       ____________

        BEFORE THE PATENT TRIAL AND APPEAL BOARD
                       ____________

                  LKQ CORPORATION and
           KEYSTONE AUTOMOTIVE INDUSTRIES, INC.,
                        Petitioner

                                 v.

          GM GLOBAL TECHNOLOGY OPERATIONS LLC,
                       Patent Owner.
                       ____________

                           IPR2020-00534
                          Patent D797,625 S
                            ____________

Before GRACE KARAFFA OBERMANN, SCOTT A. DANIELS, and
CHRISTOPHER G. PAULRAJ, Administrative Patent Judges.

DANIELS, Administrative Patent Judge.


                            JUDGMENT
                        Final Written Decision
            Determining No Challenged Claim Unpatentable
                          35 U.S.C. § 318(a)




                             Appx0001
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IPR2020-00534
Patent D797,625 S
                             I. INTRODUCTION
      A. Background
      LKQ Corporation and Keystone Automotive Industries, Inc.,
(collectively “LKQ”) filed a Petition to institute an inter partes review of the
claim for a “Vehicle Front Fender” in U.S. Patent No. D797,625 S (Ex.
1001, “the ’625 patent”). Paper 2 (“Pet.”). GM Global Technology
Operations, Inc., (“GM”) filed a Preliminary Response. Paper 9 (“Prelim.
Resp.”). On August 11, 2020, we entered a Decision instituting an inter
partes review of the challenged claim in this proceeding. Paper 10 (“Inst.
Dec.”).
      Following our Institution Decision, GM timely filed a Response.
Paper 17 (“PO Resp.”). LKQ filed a Reply. Paper 21 (“Pet. Reply”). GM
subsequently filed a Sur-Reply. Paper 23 (“PO Sur-Reply”). We heard oral
argument on April 27, 2021. A transcript of the argument has been entered
into the record. Paper 27 (“Tr.”).
      We have jurisdiction under 35 U.S.C. § 6(b). This Final Written
Decision is issued pursuant to 35 U.S.C. § 318(a). Having reviewed the
arguments of the parties and the supporting evidence, we find that Petitioner
has not demonstrated by a preponderance of the evidence that the sole claim
of the ’625 patent is unpatentable.
      B. Additional Proceedings
      The parties identify various other inter partes and post-grant review
proceedings that Petitioner has filed challenging different patents owned by
GM. The parties do not state that these other proceedings affect, or would
be affected by, the outcome of this proceeding. Pet. 5–6; Paper 5, 2.




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      C. The ’625 Patent and Claim
      The ’625 patent (Ex. 1001) is a design patent that issued September
19, 2017, and lists GM as the assignee. Ex. 1001, codes (45), (73). The
title, “Vehicle Front Fender,” refers to an outer surface of a vehicle front
fender, which the figures of the patent illustrate in solid lines, but with
certain portions shown in dashed lines, such as the inner surface, that would
not be observable when the fender is attached to a vehicle. See 37 C.F.R.
§ 1.152; see also MPEP 1503.02, subsection III (“Unclaimed subject matter
may be shown in broken lines for the purpose of illustrating the environment
in which the article embodying the design is used. Unclaimed subject matter
must be described as forming no part of the claimed design or of a specified
embodiment thereof.”).
      The ’625 design includes Figures 1–4, reproduced below, illustrating
the claimed front fender as set forth below. 1




1
 We refer to the claim, i.e., the vehicle front fender shown in Figures 1–4,
also as “the ’625 design.”


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Ex. 1001. Figures 1–4 above depict, respectively, the following views of the
claimed vehicle front fender design: a perspective view, a side view, a front
view, and a top view. Id. at code (57).
      D. Claim Construction
      In an inter partes review based on a petition filed after November 13,
2018, the claims are construed
      using the same claim construction standard that would be used to
      construe the claim in a civil action under 35 U.S.C. [§] 282(b),
      including construing the claim in accordance with the ordinary
      and customary meaning of such claim as understood by one of
      ordinary skill in the art and the prosecution history pertaining to
      the patent.
37 C.F.R. § 42.100(b); see Phillips v. AWH Corp., 415 F.3d 1303, 1312–13
(Fed. Cir. 2005) (en banc) (setting forth claim construction standard in civil
actions).
      With respect to design patents, it is well settled that a design is
represented better by an illustration than a description. Egyptian Goddess,
Inc. v. Swisa, Inc., 543 F.3d 665, 679 (Fed. Cir. 2008) (en banc) (citing



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Dobson v. Dornan, 118 U.S. 10, 14 (1886)). Although preferably a design
patent claim is not construed by providing a detailed verbal description, it
may be “helpful to point out . . . various features of the claimed design as
they relate to the . . . prior art.” Id. at 679–80; cf. High Point Design LLC v.
Buyers Direct, Inc., 730 F.3d 1301, 1314–15 (Fed. Cir. 2013) (remanding to
district court, in part, for a “verbal description of the claimed design to
evoke a visual image consonant with that design”).
             1. LKQ’s Proposed Claim Construction
      LKQ relies on the Declarations of Jason M. Gandy (Ex. 1003) and
Jason C. Hill (Ex. 1004; Ex. 1043) in support of its claim construction and
arguments. GM relies on the Declaration of Thomas V. Peters (Ex. 2004).
      LKQ contends that the claim of the ’625 patent, as shown by the solid
lines in the drawings, can be textually described as:
      [a] vehicle fender comprising:
      a top protrusion extending rearwardly and upwardly from an
      upper portion of the fender and having an intermittent u-shaped
      notch;
      a first crease and a second crease extending forwards from a rear
      edge of the fender, a concavity line disposed between the first
      crease and the second crease, and an inflection line below the
      second crease; and
      an angular front elevation profile.
Pet. 13–15 (emphasis omitted). LKQ provides the following annotated
Figure 1 from the ’625 patent, emphasizing certain claim elements.




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In annotated Figure 1, above, LKQ illustrates a front perspective view of the
claimed vehicle fender pointing to a “first crease,” a “concavity line,” a
“second crease,” and an “inflection line.” Id. at 14.
             2. GM’s Proposed Claim Construction
      GM’s position is that LKQ’s construction is too general and
simplistic. See PO Resp. 1 (GM arguing that it “is not the presence or
absence of common features, but the details in the claimed design that stand
out”). GM describes the claimed design as “a coordinated set of features
that contribute to a unique overall appearance.” Id. at 3. Summarized
below, GM asserts that there are five specific ornamental aspects of the
design that contribute to its uniqueness. Id. at 4–11.
                (a) “[f]irst, the claimed design includes distinct lateral and
                  lower perimeter shapes”
      GM argues that the right hand lateral edge, i.e., “door cut line,” and
the circular edge of the wheel arch “complement each other—both have
smooth, arcuate shapes that echo the smooth and consistent curvature of the



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‘first’ and ‘second’ creases and other sculpting of the fender.” Id. at 4.
Reproduced below is GM’s annotated version of Figure 2 of the ’625 design.




GM’s annotated version of Figure 2 of the ’625 design is shown above with
the door cut line and wheel arch highlighted in red. Id. at 5.
                (b) “[s]econd, the claimed design includes a ‘protrusion’
                  having a particular three-dimensional shape”
      GM argues that the shape of the protrusion is unique, specifically
drawing our attention to the consistent width of the upper surface of the
protrusion, shown highlighted in green in Patent Owner’s annotated Figure 1
reproduced below.




                                     7
                                  Appx0007
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Patent D797,625 S




GM’s annotated version of Figure 1 of the ’625 design is shown above with
the upper surface of the protrusion highlighted in green. Id. at 6. Patent
Owner argues that “[t]he upper surface (green) has a thickness and
consistent width that mirrors the inside surface of the ‘u-shaped notch,’
furthering the cohesive overall appearance of the fender.” Id. at 5 (citing Ex.
2004 ¶¶ 39–40).
                (c) “[t]hird, the claimed design includes lines and surfaces
                   having smooth, arcing shapes that provide a distinctive
                   sculpting”
      According to GM, the claimed design has first and second creases that
“gently curve between respective ends.” Id. at 7. GM contends that the
“concavity line” is similarly curved and that “[t]hese lines cooperate with the
smooth, arching lines of the fender perimeter, and the contoured surfaces
between these lines, to provide an overall appearance of smooth, curving
shapes.” Id. Figure 2 of the ’625 patent as annotated by Patent Owner is
reproduced below.




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GM’s annotated version of Figure 2 of the ’625 design is shown above with
the first and second creases, and concavity line, highlighted in red. Id. at 5.
Patent Owner refers to the first crease as a “character line.” Id. at 9.
According to GM’s declarant, Mr. Peters, “the curvature and relative
positioning of the ‘first crease’ helps set a tone for the proportions and body
shape of the fender.” Ex. 2004 ¶ 44.
                (d) “[f]ourth, the claimed design includes a horizontal
                  crease near the lower portion of the fender that extends
                  between the wheel arch and the lateral edge”
      GM argues that the horizontal crease located adjacent to the wheel
arch “contributes to the overall sculpted appearance of the front fender, and
adds a focal location extending to the right of the wheel arch.” PO Resp. 10.
We note LKQ refers to this feature as an “inflection line.” Pet. 14. Patent
Owner’s annotated Figure 1 is reproduced below.




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GM’s annotated version of Figure 1 of the ’625 design is shown above with
the horizontal crease highlighted in red. PO Resp. 10.
                (e) “[f]ifth, the claimed design defines a wheel arch having
                   a circular perimeter. The perimeter has a smooth,
                   continuous curvature that extends between the front
                   corner and rear bottom corner of the fender”
      GM contends also that the wheel arch contributes to the overall
appearance of the claimed design because “the circular perimeter of the
cutout echoes the smooth, arcing lines of the other perimeter edges, the
protrusion, first and second creases, and other sculpting of the fender.” Id. at
11. Figure 2, as annotated by GM, is reproduced below.




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                                  Appx0010
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GM’s annotated Figure 2, above, illustrates the perimeter of the wheel arch
highlighted in red. Id.
              3. The Claim Construction Analysis
        In addition to its claim construction the specific design elements
discussed above, GM makes several arguments to support its overarching
contention that, “in the field of vehicle fender design, nuanced features are
significant to overall appearance.” Id. at 12 (citing Ex. 2004 ¶¶ 48–56). GM
argues that an ordinary observer would consider the overall appearance of
the claimed design and that details are important “because (1) the art is
crowded; (2) the fender at issue must interface with other aspects of a
vehicle, which puts increased focus on incongruities; and (3) fender
replacement part marketing materials tout the importance of details and parts
being ‘identical’ in this field.” Id. We address these three arguments in
turn.
                 (a) Whether Vehicle Fender Design is a Crowded Art
        GM argues that vehicle fenders are in a crowded field. Id. at 13. GM
argues that during prosecution of the application thatthat became the ’625
patent, the Examiner cited and considered “dozens” of vehicle front fenders.



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Id. GM cites several cases, including In re Harvey, 12 F.3d 1061, 1064
(Fed. Cir. 1993), where the Federal Circuit discusses crowded art. In
Harvey, the Federal Circuit distinguished the facts from a prior case, In re
Hopkins, explaining that the loud speaker designs at issue in Hopkins were
in a field “much less crowded than that of ornamental vase design,” which
was the focus of Harvey. Harvey, 12 F.3d at 1064.
      We appreciate that a recognition that the vehicle fender field is
considered to be in a “crowded art” would be helpful for GM insofar as
small or “nuanced” differences between the claimed design and the prior art
will then become even more important. However, the “crowded art” concept
is highly fact dependent. GM has presented evidence of other design patents
for vehicle fenders. See PO Resp. 15; see also Ex. 1001, code (56) (listing
dozens of references). GM’s declarant, Mr. Peters, points out 24 design
patents relating to vehicle fender design and, out of those, specifically
addresses six “vehicle fender designs that reflect common design concepts
like those recited in Petitioner’s proposed construction for the ’625 Patent.”
Ex. 2004 ¶ 50. Mr. Peters explains that, due to the necessity to interface
with other vehicle components and body parts, commonalities between
fender designs can “include arcuate wheel arches, protrusions that interface
between the vehicle hood and A-pillar, door cut lines that interface with a
door panel, and contoured surface sculpting that includes multiple creases.”
Ex. 2004 ¶ 51. Also, Mr. Peters references “an article from October 2017
estimating that over 1,700 different car models were on the road.” Id. ¶ 53
(citing Ex. 2002, 2).
      We are not persuaded that the field is crowded based merely on the
evidence of the number of vehicle models that include front fenders. GM




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                                  Appx0012
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has not defined clearly the field of art that is allegedly crowded. For
example, it is unclear whether the field of art should include all vehicles as
recited in the title, or be limited to sedans, as opposed to trucks or sports cars
which could arguably be significantly different in appearance. GM’s
analysis of six other fender designs, advanced to show that the field of
fender design is crowded, is helpful to show certain commonalities among
related fender designs, but it is not as persuasive that fender design is
specifically a crowded art. Moreover, to the extent In re Harvey is
applicable here, we find that vehicle fenders are more fairly akin to loud
speakers, as compared to vases, which have been made for thousands of
years. See Un-Making Sense of Alleged Abkhaz-Adyghean Inscriptions on
Ancient Greek Pottery, Alexei Kassian, Copyright: Koninklijke Brill NV,
Leiden, 2016 (last viewed Aug. 4, 2021 at https://www.researchgate.net/
publication/311802093_Un_Making_Sense_of_Alleged_Abkhaz
Adyghean_Inscriptions_on_Ancient_Greek_Pottery) (explaining that “[a]
large number of Ancient Greek vases, starting from the late 8th to the early
4th centuries BC, bear short inscriptions”).
      We acknowledge that there are many different front fender designs,
and we find that this fact helps illustrate both commonalities and differences
among the designs. See, e.g., PO Resp. 13 (GM providing a collage of
fender designs to illustrate common features). We are not persuaded, on the
record before us, that GM has provided sufficient facts or evidence for the
Board to determine that vehicle fender design is a relatively crowded art.
                 (b) Interfacing with Other Vehicle Components and the
                   Similar Appearance of Replacement Parts
      GM argues that “the ordinary observer would have been especially
attuned to interfacing aspects of the design because they directly impact the


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match/fit with other parts of the vehicle.” PO Resp. 15–16 (citing Ex. 2004
¶ 54; Auto. Body Parts Ass’n v. Ford Glob. Techs., LLC, 930 F.3d 1314,
1319 (Fed. Cir. 2019)). In this case, extending our claim construction
inquiry beyond the metes and bounds of the claim to address “fit with other
vehicle components” is not necessary. PO Resp. 15–16 (citing Ex. 2004
¶ 54). For one thing, the claim in the ’625 patent does not include any other
body parts or vehicle components. Ex. 1001, code (57), Figs. 1–4; see also
OddzOn Prod., Inc. v. Just Toys, Inc., 122 F.3d 1396, 1405 (Fed. Cir. 1997)
(“A design patent only protects the novel, ornamental features of the
patented design.”). However, we do find persuasive GM’s evidence that,
when repairing a vehicle, consumer preference is to choose identical
replacement parts, for the reason that identical parts best return the vehicle to
its original appearance. Pet. 16 (citing Ex. 2003, 10, 14; Ex. 2004 ¶¶ 55–56;
Ex. 2005, 3–4). This evidence helps support GM’s position that “[t]he
ordinary observer’s overall impression would have been defined by a
multitude of readily apparent features of the ’625 Patent’s design.” PO
Resp. 17.
                (c) How the Claim is Construed
      We are persuaded by the parties’ arguments and the evidence in this
case that vehicle fender designs include unique ornamentation as shown in
the drawings of the ’625 patent. We are further persuaded that we should
consider and describe, in more detail than the description LKQ proffers, the
elements and ornamentation as part of the overall appearance of the claimed
design. See Richardson v. Stanley Works, Inc., 597 F.3d 1288, 1294 (Fed.
Cir. 2010) (The Federal Circuit questioning how “a court could effectively




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construe design claims, where necessary, in a way other than by describing
the features shown in the drawings.”).
      Therefore, in addition to the commonalities between fenders described
by LKQ and its declarant, Mr. Hill, we find persuasive Mr. Peters’ testimony
that “[t]he ordinary observer would have been attuned to nuanced
differences between fender designs,” and “readily recognized differences
that distinguish vehicle fender designs.” Ex. 2004 ¶¶ 52–53. Mr. Peters
testifies, for example, that “[t]he sculpture of vehicle front fenders
significantly impacts the character and visual impression of the fender in the
eyes of the ordinary observer.” Ex. 2004 ¶ 81. Likewise, LKQ’s declarant,
Mr. Hill, testified in his deposition that an ordinary designer would consider
various features, including sculpting, on vehicle fenders:
          Q. Right. What about the sculpting on the face of the fender,
          would you agree with me that those are features, the sculpting
          on the side of a vehicle including on a fender, that are going
          to be meaningful to an ordinary observer?
          ....
          A. Yes.
Ex. 2008, 20:6–15.
      In our Decision on Institution, we determined that no express verbal
description was necessary. Inst. Dec. 5–6. We explained that “the best
description of the ornamental features of the ’625 design comes from the
drawings themselves.” Id. at 6. Now, on the full record before us, we still
find that the best evaluation of the claimed design occurs by observing and
considering the overall appearance of the claimed design as shown explicitly
in Figures 1–4 of the drawings. See In re Jennings, 182 F.2d 207, 208
(CCPA 1950) (“In considering patentability of a proposed design the



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appearance of the design must be viewed as a whole, as shown by the
drawing, or drawings.”).
      However, based on the competing analyses by the parties and
considering the relationship of the prior art to the claimed design, we find it
helpful to describe verbally certain elements of the claim for purposes of our
analysis in this Final Decision. See Egyptian Goddess, 543 F.3d at 680; see
also Durling v. Spectrum Furniture Co., 101 F.3d 100, 104 (Fed. Cir. 1996)
(“A proper interpretation of [the] claimed design focuses on the visual
impression it creates.”).
      Considering the overall appearance of the ’625 design, we determine
that LKQ’s proposed construction is incomplete. In addition to LKQ’s
construction, we find certain other elements of the claimed fender, some of
which are described by GM, are readily observable and relevant to the
overall appearance of the claimed design.
      1) As best observed in Figures 1–4 of the ’625 patent, on the right
          side, the claimed design illustrates a door cut line having a slight
          but consistent curvature extending from the u-shaped notch
          downwards to a lower terminus of the fender, and a circular wheel
          arch extending from the lower terminus to an angular forward edge
          of the distal portion. See PO Resp. 4–5 (citing Ex. 2004 ¶¶ 35–38).
      2) A consistent width lower rearward terminus shape defined between
          the wheel arch and door cut line. See Ex. 1001, Figs. 1–2.
      3) A protrusion where the upper surface of the protrusion (shown
          highlighted green in GM’s annotated Figure 1, above) has a
          thickness and consistent width that mirrors the inside surface of the
          u-shaped notch. PO Resp. 7 (citing Ex. 2004 ¶¶ 41–42).




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      4) A gently curving first and second crease extending forwards from
         the door cut line and defining a concavity line there between. The
         first and second crease and concavity lines providing a sculpted
         appearance to the fender body below the protrusion, as best shown
         in the perspective view of Figure 1. Id. at 10; Pet. 14–15 (citing
         Ex. 1004 ¶ 46).
      5) As best seen in Figure 1 of the ’625 patent, below the first and
         second creases, the claimed design illustrates an inflection line
         defined by opposing shade lines, the inflection line extending
         between the wheel arch and door cut line. PO Resp. 10, Ex. 1001,
         Fig. 1.
      Considering Figures 1–4 and keeping these visually apparent
characteristics of the claimed design in mind, we turn below to the
anticipation and obviousness challenges that Petitioner has raised in this
proceeding.
      E. Instituted Grounds
      LKQ contends that the challenged claim is unpatentable under
35 U.S.C. §§102, 103 based on U.S. Design Patent No. D773,340 S
(Ex. 1006, “Lian”), which is assigned to BYD Company Ltd. and issued
December 6, 2016. Pet. 18. LKQ also argues that the challenged claim is
unpatentable under 35 U.S.C. §103 based on Lian combined with images of
the 2010 Hyundai Tucson (Ex. 1007) as disclosed in a promotional brochure.
Id.




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    Claims Challenged     35 U.S.C. §    References/Basis
    Claim 1               102            Lian2
    Claim 1               103            Lian
    Claim 1               103            Lian and 2010 Hyundai Tucson 3

                                  II. ANALYSIS
        A. Principles of Law
              1. Anticipation
        The “ordinary observer” test for anticipation of a design patent is the
same as that used for infringement, except that for anticipation, the patented
design is compared with the alleged anticipatory reference rather than an
accused design. Int’l Seaway Trading Corp. v. Walgreens Corp., 589 F.3d
1233, 1238, 1240 (Fed. Cir. 2009). The ordinary observer test for design
patent infringement was first enunciated by the Supreme Court in Gorham
Co. v. White, 81 U.S. 511 (1871), as follows:
        [I]f, in the eye of an ordinary observer, giving such attention as
        a purchaser usually gives, two designs are substantially the same,
        if the resemblance is such as to deceive such an observer,
        inducing him to purchase one supposing it to be the other, the
        first one patented is infringed by the other.
Id. at 528. The ordinary observer test requires the fact finder to consider all
of the ornamental features illustrated in the figures that are visible at any
time in the “normal use” lifetime of the accused product, i.e., “from the
completion of manufacture or assembly until the ultimate destruction, loss,
or disappearance of the article.” Int’l Seaway, 589 F.3d at 1241. In other


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 Ex. 1006, U.S. Design Pat. No. D773,340 S (December 6, 2016).
3
 Ex. 1007, 2010 Hyundai Tucson Brochure, copyright 2009,
http://www.auto-brochures.com/makes/Hyundai/Tucson/Hyundai US
Tucson 2010.pdf.


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words, the ordinary observer test requires consideration of the design as a
whole. See id. at 1243; Egyptian Goddess, 543 F.3d at 677. In applying the
ordinary observer test, we must “determine whether ‘the deception that
arises is a result of the similarities in the overall design, not of similarities in
ornamental features in isolation.’” See Richardson, 597 F.3d at 1295.
       Additionally, while the ordinary observer test requires consideration
of the overall prior art and claimed designs,
       [t]he mandated overall comparison is a comparison taking into
       account significant differences between the two designs, not
       minor or trivial differences that necessarily exist between any
       two designs that are not exact copies of one another. Just as
       “minor differences between a patented design and an accused
       article’s design cannot, and shall not, prevent a finding of
       infringement” . . . so too minor differences cannot prevent a
       finding of anticipation.
Int’l Seaway, 589 F.3d at 1243 (citation omitted) (quoting Litton Sys., Inc. v.
Whirlpool Corp., 728 F.2d 1423, 1444 (Fed. Cir. 1984)).
       2.     Obviousness
       “In addressing a claim of obviousness in a design patent, the ultimate
inquiry . . . is whether the claimed design would have been obvious to a
designer of ordinary skill who designs articles of the type involved.” Apple,
Inc. v. Samsung Elec. Co., 678 F.3d 1314, 1329 (Fed. Cir. 2012) (internal
quotation and citations omitted); see also High Point Design, 730 F.3d at
1313 (“The use of an ‘ordinary observer’ standard to assess the potential
obviousness of a design patent runs contrary to the precedent of this court
and our predecessor court, under which the obviousness of a design patent
must, instead, be assessed from the viewpoint of an ordinary designer.”).
       Often referred to as the Durling test, the obviousness analysis
generally involves two steps: first, “one must find a single reference, a


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something in existence, the design characteristics of which are basically the
same as the claimed design”; second, “[o]nce this primary reference is
found, other references may be used to modify it to create a design that has
the same overall visual appearance as the claimed design.” Durling, 101
F.3d at 103 (internal quotation and citations omitted).
      The first step has two parts; we must “(1) discern the correct visual
impression created by the patented design as a whole; and (2) determine
whether there is a single reference that creates ‘basically the same’ visual
impression.” Id. In the second step, the primary reference may be modified
by secondary references “to create a design that has the same overall visual
appearance as the claimed design.” Id. However, the “secondary references
may only be used to modify the primary reference if they are ‘so related [to
the primary reference] that the appearance of certain ornamental features in
one would suggest the application of those features to the other.’” Id.
(alteration in original) (quoting In re Borden, 90 F.3d 1570, 1575 (Fed. Cir.
1996)).
      Also, when evaluating prior art references for purposes of determining
patentability of ornamental designs, the focus must be on actual appearances
and specific design characteristics rather than design concepts. Harvey, 12
F.3d at 1064; see also Apple, 678 F.3d at 1332 (“Rather than looking to the
‘general concept’ of a tablet, the district court should have focused on the
distinctive ‘visual appearances’ of the reference and the claimed design.”).
      B. The Ordinary Observer
      The parties dispute who is an ordinary observer. LKQ argues that
“the ordinary observer should be the retail consumer of an automobile.” Pet.
40 (citing Ex. 1003 ¶ 40; Ex. 1004 ¶ 34). GM argued in its Preliminary




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Response that “the ordinary observer includes commercial buyers who
purchase replacement vehicle front fenders to repair a customer’s vehicle,
such as repair shop professionals.” Prelim. Resp. 7. GM noted that LKQ
has acknowledged in a related proceeding (IPR2020-00065) that
“replacement automobile body parts[] are typically purchased on behalf of
vehicle owners by repair shops.” Id. (quoting IPR2020-00065, Paper 2, 21)
(emphasis omitted).
      Before us is evidence that both automobile owners, as well as
insurance and repair companies, desire to return vehicles to their original
appearance. GM points to a letter from LKQ’s counsel to U.S. Customs and
Border Protection stating that “[a]utomobile owners seek to repair their
automobiles in a way that returns their automobile as closely as possible to
its original appearance and condition.” Ex. 2003, 11. This letter also states
that “[i]nsurance companies are overwhelmingly the customers in
aftermarket repair parts market transactions, acting on behalf of their driver
clients.” Id.
      The ’625 design claims a “vehicle front fender,” not a vehicle in total.
Ex. 1001, code (54). Based on this, as well as the evidence from both
parties, we determined in our Institution Decision
      that the ordinary observer includes a commercial buyer of
      replacement vehicle parts and a retail consumer of an
      automobile. That is to say, as discussed in detail below, the
      evidence on the record before us demonstrates that the designs at
      issue have such distinct and similar characteristics that either
      ordinary observer (the retail consumer or the repair shop
      professional who would be aware of prior art designs) would
      confuse the prior art designs for the design claimed by the ’625
      patent.




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Inst. Dec. 12 (citation omitted). LKQ clings to its argument that Federal
Circuit case law supports just the vehicle owner as the ordinary observer.
See Tr. 9:20–19:8 (LKQ’s counsel arguing that “the proper ordinary
observer in this context should be the vehicle -- the retail vehicle
purchaser.”); see also Pet. Reply 3 (citing Pacific Coast Marine Windshields
v. Malibu Boats, 739 F.3d 694, 701–702 (Fed. Cir. 2014)). Federal Circuit
cases are consistent in that the determination of the ordinary observer is
factually dependent. See Arminak & Assocs., Inc. v. Saint-Gobain Calmar,
Inc., 501 F.3d 1314, 1323 (Fed. Cir. 2007), abrogated on other grounds
by Egyptian Goddess, 543 F.3d at 665 (The Federal Circuit explaining “that
the ordinary observer is a person who is either a purchaser of, or sufficiently
interested in, the item that displays the patented designs and who has the
capability of making a reasonably discerning decision when observing the
accused item’s design whether the accused item is substantially the same as
the item claimed in the design patent.”).
         On the facts and evidence in this proceeding, the interests and goals of
both the vehicle owner and repair shop person are aligned, that is—in the
context of repair, to return the vehicle to its original appearance. Ex. 2003,
11; Ex. 2005, 3–4; Ex. 1043; Ex. 2004 ¶¶ 26, 54–56. Even if we chose
between the two, the level of detail and analysis would not change
sufficiently to affect the outcome of this Decision. Therefore, we do not
alter our determination made at institution, that the ordinary observer
includes both a vehicle owner and consumer and also a replacement parts
buyer.
         GM offers additional evidence as to the level of detail an ordinary
observer would consider including a website selling a replacement fender for




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                                    Appx0022
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the Chevrolet Equinox. PO Resp. 16–17 (citing Ex. 2005). The website
states, for example, “[t]o replace your damaged parts, get these premium
fenders by Replace. They are identical to OE in fit, form, and function.”
Ex. 2005, 3–4. In light of the evidence that both a vehicle owner and repair
shop person would desire to return a vehicle in most cases to its original
appearance, we find Mr. Peters’ testimony persuasive that “the ordinary
observer readily recognized incongruity associated with a part that does not
fit or match other parts of the vehicle it is attached to.” Ex. 2004 ¶ 54. We
understand that this type of observation and consideration would require a
certain level of examination when determining what replacement fender to
purchase. Thus, we find persuasive GM’s and Mr. Peters’ assertions that,
when considering the overall appearance of a vehicle fender, “details are
readily noticed by the ordinary observer.” PO Resp. 17 (citing Ex. 2004
¶ 56).
         C. The Designer of Ordinary Skill in the Art
         LKQ contends that:
         a designer of ordinary skill would be an individual who has at
         least an undergraduate degree in transportation or automotive
         design and work experience in the field of transportation design,
         or someone who has several years’ work experience in the field
         of transportation or automotive design.
Pet. 38 (citing Ex. 1003 ¶ 42; Ex. 1004 ¶ 36). GM argues that:
         [a] designer of ordinary skill in the art relevant to the ’625 patent
         would have at least an undergraduate degree in automotive
         design, or other related industrial design field, with at least two
         years of relevant practical experience in designing automotive
         body parts. An increase in experience could compensate for less
         education, and an increase in education could likewise
         compensate for less experience.




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Prelim. Resp. 9. We do not discern a significant difference in these
definitions proposed by the parties for an ordinary designer. Both
definitions allow for an undergraduate professional degree, or alternatively,
a reasonable period of time and work experience in the field of
transportation and automotive design field. For purposes of this decision
and on the complete record before us, we adopt LKQ’s proposed definition
of the ordinary designer. Adopting GM’s definition would not alter the
outcome of this Decision.
      D. Anticipation by Lian
         1. Lian (Ex. 1006)
      Lian includes seven drawings of a “Vehicle.” Ex. 1006, code (54).
We reproduce Lian’s Figures 1, 4, and 6 below.




Figure 1 of Lian is a front elevation view of a vehicle. Ex. 1006, 2.




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                                 Appx0024
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Figure 4 of Lian is a left side elevation view of the vehicle. Id. at 3.




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Figure 6 of Lian is a front perspective view of the vehicle. Id. at 5. We
selected these figures from among Lian’s seven drawings because they show
best Lian’s left front fender for comparison with the claimed design.
         2. LKQ’s Arguments
      Because we find it helpful, we reproduce below LKQ’s chart from the
Petition comparing cropped and annotated views of Lian’s figures side-by-
side with Figures 1–4 of the ’625 design. Pet. 46–47.




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LKQ provides on the left side of the claim chart, reproduced above, each of
Figures 1–4 of the claimed front fender compared with a similar cropped
view of the front fender from Lian on the right side of the claim chart.
      LKQ provides additional claim charts showing certain similarities
between specific portions of the ’625 design and Lian. Id. at 48–54. For
example, with respect to the “top protrusion,” LKQ compares cropped
portions of the ’625 design and Lian, asserting that the similarities of the top
protrusions are “an overall visual appearance that is substantially the same as
the claimed design.” Id. at 47 (citing Ex. 1003 ¶ 55; Ex. 1004 ¶ 60). We




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reproduce below LKQ’s claim chart comparing the relevant portions of the
top protrusion




Id. at 48. LKQ provides on the left side of the claim chart, above, cropped
and highlighted portions of Figures 2 and 4 of the claimed front left fender
compared with the same referential cropped and highlighted view of the
front left fender of Lian on the right side of the claim chart. LKQ argues
that “both feature a top protrusion extending rearwardly and upwardly and
having an intermittent u-shaped notch.” Id. (citing Ex. 1003 ¶ 55; Ex. 1004
¶ 60).




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      Using another claim chart, below, LKQ also points out some
differences, such as the “wheel arch” and “terminus” between the ’625
design and Lian. Id. at 55.




LKQ provides on the left side of the claim chart, above, cropped and
highlighted portions of Figure 2 of the claimed front fender compared with
the same referential cropped and highlighted view of the front fender of Lian
shown on the right side of the claim chart. LKQ argues that the different
curvature of the wheel arch and lower terminus of the fenders “are, at most,
minor distinctions and neither diminishes the overall visual similarity
between the designs.” Id. at 56 (citing Ex. 1003 ¶ 62; Ex. 1004 ¶ 67). Mr.
Gandy testifies, with respect to the wheel arch, that “[t]he minor difference
in shape would not be apparent to an ordinary observer and would be
overwhelmed by the many other common features, especially the similarities
in the more prominent features and particularly in view of the virtual




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identicality [sic] in the width, proportion, and general appearance of the
wheel arch flats of the two designs.” Ex. 1003 ¶ 63.
         3. GM’s Arguments
      Consistent with its claim construction position, GM argues that when
the overall appearance of the claimed design is considered, many elements
of the claimed design are absent from Lian. PO Resp. 21. GM makes the
following specific arguments:
       (a) The claimed door cut line is different from Lian (Id. at 21–24);
       (b) “Lian does not disclose a ‘top protrusion’ having the appearance
of the claimed design.” (PO Resp. 24–30);
      (c) Lian lacks the inflection line on the lower portion of the fender
between the wheel arch and door cut line. (PO Resp. 30–32);
      (d) Lian fails to disclose the same overall appearance provided by the
sculpting shown in the claimed design. (PO Resp. 32–37);
      (e) Lian’s wheel arch lacks the consistent curvature of the claimed
design. (PO Resp. 37–41); and
      (f) Lian has a different lower rearward terminus shape than the
claimed design. (PO Resp. 41–44).
      GM argues that all these elements are important to the overall
appearance of the claimed fender, and are not, as LKQ asserts, “‘a miniscule
element’ that is ‘beneath an ordinary observer’s notice,’” for example with
respect to the lower rear terminus. PO Resp. 43 (citing Pet. 57).
         4. Analysis
                (a) Similarities between the ’625 patent and Lian
      We recognize there are certain articulable and visible similarities in
the overall appearance of the claimed design and Lian that would be




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apparent to an ordinary observer. As LKQ contends, both designs include a
top protrusion and u-shaped notch. Pet. 13, 48. Below the u-shaped notch,
Lian arguably shows a first and second crease extending forward from a
door cut line as well as a concavity between the first and second creases. Id.
at 14, 48–49. Also, the distal portion, i.e. the front left, of both designs has a
slanted forward edge extending between the wheel arch and front elevation
profile fairly close in appearance. Id. at 52–53. These similarities are
readily observable by comparing the elevation views of Figure 2 of the
claimed design with Figure 4 of Lian, reproduced below.


       ’625 patent Figure 2                    Lian’s Figure 4




Figure 2 of the ’625 patent above left, in comparison to a cropped version of
Lian’s Figure 4, on the right.
                 (b) Differences between the ’625 patent and Lian
                           Wheel Arch and Terminus
      We agree with LKQ that when considering the elevation views, the
wheel arch shape is different, and also the fender terminus, lower right, is




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visibly different. Id. at 55. We reproduce LKQ’s annotated figures from the
’625 patent and Lian, below.




LKQ’s annotated and cropped Figure 2 of the ’625 patent above left, in
comparison to an annotated and cropped Figure 4 of Lian, on the right.
      We are not persuaded, however, that “these two differences are, at
most, minor distinctions” as LKQ and its declarants assert. Id. at 56 (citing
Ex. 1003 ¶ 62; Ex. 1004 ¶ 67). One of LKQ’s declarants, Dr. Gandy,
testifies as to the wheel arch and terminus features that “[t]he minor
difference in shape would not be apparent to an ordinary observer and would
be overwhelmed by the many other common features, especially the
similarities in the more prominent features.” Ex. 1003 ¶ 63. GM’s
declarant, Mr. Peters, states the opposite, testifying that “Lian’s wheel arch
accounts for a substantial portion of the fender perimeter and is a prominent
feature of the overall appearance of Lian’s design.” Ex. 2004 ¶ 93.




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      Considering the design as a whole, we are persuaded by Mr. Peters’s
testimony and GM’s evidence that an ordinary observer would perceive,
along with the similarities discussed above, that Lian’s wheel arch is non-
circular and that the terminus has a rearwardly extending segment different
from the claimed design. Considering our claim construction and the
testimony of both parties’ declarants, we find that an ordinary observer
certainly would evaluate these visually significant features in defining the
overall appearance of the claimed design, and find them to be missing in
Lian. See Section I.D.3.
      Also bearing on our analysis, GM has produced evidence of other
prior art references that disclose and claim various fender designs. See PO
Resp. 13–14 (citing Ex. 2004 ¶¶ 49–53). Because an ordinary observer
would consider at least the wheel arch and terminus differences as a relevant
part of the overall appearance of the claimed design in the context of Lian
and other known prior art fenders, and because these elements are not minor
in that they affect the overall visual impression of the fender, we are
persuaded that an ordinary observer would not be so easily deceived into
purchasing Lian’s fender thinking it to be the claimed fender.4 See Egyptian
Goddess, 543 F.3d at 677 (“Where the frame of reference consists of
numerous similar prior art designs, those designs can highlight the




4
  Although LKQ argues that Egyptian Goddess was designated as a test for
infringement, not validity, the Federal Circuit has clarified “that the ordinary
observer test must logically be the sole test for anticipation as well. In doing
so, we will prevent an inconsistency from developing between the
infringement and anticipation analyses.” Int’l Seaway, 589 F.3d at 1240.



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distinctions between the claimed design and the accused design as viewed by
the ordinary observer.”).
      Moreover, the wheel arch and terminus are not the only differences
between Lian and the claimed design. LKQ argues that “[n]one of Lian’s
door cut line, protrusion, inflection line, or pattern of creases and sculpture
are meaningfully dissimilar from the claimed design.” Pet. Reply. 11. For
the reasons discussed below, we disagree.
      Although in the next sections we analyze additional features of the
claimed design and Lian, we never lose sight of the overall visual
impressions of the claimed design and Lian, or the question of whether Lian
creates the same overall visual impression as the claimed design. Gorham
Mfg. Co. v. White, 81 U.S. 511, 530, 20 L. Ed. 731 (1871) (“though
variances in the ornament are discoverable, the question remains, is the
effect of the whole design substantially the same?”).
                                Door Cut Line
      Considering Figure 2 of the ’625 patent in comparison to Figure 4 of
Lian, it is apparent that the door cut lines are different. Even a cursory
examination reveals that the claimed door cut line is a visually consistent
curvature when observed in the elevation view, whereas Lian’s door cut line
presents a more angular transition at the second crease line. Compare Ex.
1001, Fig. 2, with Ex. 1006, Fig. 4. The door cut line differences may not be
a hugely critical point of emphasis, but they can be a visually differentiable
feature that draws an ordinary observer’s attention. See Ex. 2008 8:13–9:21
(LKQ’s declarant, Mr. Hill, agreeing that a door cut line could have visual
significance to an ordinary observer).




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      The importance of small design differences, such as the door cut line,
may increase in importance when we consider the claimed design within the
context of the prior art. See Egyptian Goddess, 543 F.3d at 676 (The Federal
Circuit explaining that “when the claimed design is close to the prior art
designs, small differences between the accused design and the claimed
design are likely to be important to the eye of the hypothetical ordinary
observer.”). GM’s compilation of other vehicle fender designs is reproduced
below. PO Resp. 13.




Shown above are various elevation view figures from U.S. Pat. Nos.
D766149, D704607, D763753, D686536, D692798, and D762151 as
compiled by GM. The door cut lines illustrated in the prior art are generally
slightly arcuate vertical lines, but even among the six designs shown above,
there are visibly apparent differences in angularity and curvature when
viewed objectively. Considering the evidence here, we find persuasive Mr.




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Peters’ testimony that when considered in light of prior art fender designs,
an ordinary observer would have considered differences, even in nuanced
elements such the door cut lines, “and these nuanced differences would have
had a substantial impact on the overall appearance of fender designs to the
ordinary observer.” Ex. 2004 ¶ 52.
                                  Protrusion
      Similarly, and keeping in mind the prior art discussed above, we are
further persuaded that differences in the protrusions of the claimed design
and Lian play a role in the overall appearance of the designs. While one
might initially observe some relative similarity of the protrusions at issue
here, specifically in the elevation views, these views alone do not provide a
complete picture and sufficient comparison of the protrusions. The
protrusions in this case are better seen in the perspective views Figures 1 and
4 of the ’625 patent and Figures 5 and 6 of Lian, reproduced below.

       ’625 patent Figure 1                    Lian’s Figure 6




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Above left, Figure 1 of the ’625 patent depicts a perspective view of the
claimed fender design, in comparison to a cropped version of Lian’s
perspective view in Figure 6, on the right.


        ’625 patent Figure 1                      Lian’s Figure 6




Figure 4 showing a top plan view of the fender design of the ’625 patent
above left, in comparison to a cropped top plan view of Lian’s Figure 6, on
the right.
       In its comparison, LKQ mainly offers that “both [designs] feature a
top protrusion extending rearwardly and upwardly and having an
intermittent u-shaped notch.” Pet. 48 (citing Ex. 1003 ¶ 55; Ex. 1004 ¶ 60).
GM’s comparison, appropriately in our opinion, includes more detail. GM
notes that the upper surface of the claimed design is generally consistent
from front to back, but “Lian, on the other hand, depicts an upper surface
that changes width and curvature along the length of this surface from its left
to right edges.” PO Resp. 26. We reproduce GM’s annotated comparison of
the protrusions below.




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GM’s annotated Figure 1 of the ’625 patent, above left, and annotated Figure
6 of Lian, above right. We find that GM’s declarant, Mr. Peters, provides
the most persuasive testimony consistent with the elements an ordinary
observer would consider in vehicle fender design. Mr. Peters testifies that
“Lian’s protrusion has an upper surface that rotates and varies in width
between left and right edges. For example, the left edge that interfaces with
a portion of the hood is substantially narrower than a right edge that
interfaces with the A-pillar.” Ex. 2004 ¶ 70.
                                   Sculpting
      Sculpting, in the manner of the generally horizontal creases seen in
both the ’625 patent and Lian, certainly plays a role as part of the overall
appearance of the fender as both parties address these elements in their claim
construction and validity analyses. See, e.g., Pet. 48–52 (LKQ describing
visual characteristics of first and second creases and inflection line); see also
PO Resp. 30–37 (GM comparing horizontal creases of the ’625 patent and
Lian). At first glance, the sculpting between the designs exhibits some
similarity in location and arrangement. On the other hand, in his deposition,




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Mr. Hill testified about the emphasis that a designer places on horizontal
features of a fender:
      Q. Okay. And I think earlier you said that it’s the horizontal
      features of the vehicle that are more often emphasized; is that
      right?
      A. Yes. Again, very broadly, but also extremely -- you know, we
      read left to right and the horizontal aspect, you know, the
      orientation of vehicles is generally long and in a horizontal
      manner as opposed to buildings which are more architecture and
      vertically oriented. So most of the elements are emphasized to --
      or harmonized to emphasize an implied length in a horizontal
      manner.
Ex. 2008, 9:3–13.
      Considering the crease lines and horizontal visual details of the
designs, we find persuasive GM’s arguments and Mr. Peters’ testimony that
an ordinary observer would not find the fender body sculpting substantially
similar between Lian and the claimed design. PO Resp. 32–37 (citing Ex.
2004 ¶¶ 81–89). Moreover, it is reasonably clear that an ordinary observer
would be aware of other prior art fender designs and would notice specific
details in the sculpting. See, e.g., Ex. 2008, 20:6–15 (LKQ’s declarant, Mr.
Hill, agreeing that the sculpting on the fender would “be meaningful to an
ordinary observer.”).
                                 Inflection Line
         LKQ argues that Lian exhibits the identical inflection line as the
claimed design, utilizing the annotated figure for comparison below. Pet.
50–52.




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LKQ’s annotated Figure 2 from the ’625 patent, above left, and Lian’s
annotated and cropped Figure 4, above right. LKQ uses a horizontal yellow
highlight line on Lian’s design to indicate where it considers a similar
inflection line on the claimed design. GM takes issue with this comparison
and argues that the claimed inflection line in the ’625 design is in fact a
crease as shown where “the shade lines in FIG. 1 signal a distinct and abrupt
angle change of the fender above and below the crease.” PO Resp. 30
(citing Ex. 2004 ¶ 76). Whether termed an inflection line, or a crease, our
consideration of this feature is consistent with Mr. Peters’ testimony that
Lian lacks such a feature. Mr. Peters compares LKQ’s annotated Figure 4 of
Lian with a similar cropped image without LKQ’s yellow highlight line. Mr.
Peters explains persuasively that different from the claimed design, in Lian
“[t]here is simply no crease at the location annotated with a crease by the
Petition.” Ex. 2004 ¶ 77.




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Shown above is Figure 4 of Lian as annotated by LKQ, on the left, with a
yellow highlight allegedly indicating an inflection line or crease, and on the
right, a cropped annotated image from Figure 4 without the yellow highlight.
                             First and Second Creases
      Also, while certainly nuanced, we are persuaded that there are visually
ascertainable differences between the first and second creases, which are
part of the sculpting of the two designs that would be apparent to an ordinary
observer. We reproduce the perspective views of Figure 1 of the ’625 patent
and Lian’s Figure 6 below.




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          ’625 patent Figure 1                 Lian’s Figure 6




Above, left, Figure 1 is a perspective view of the fender design of the ’625
patent, in comparison to a cropped version of Lian’s perspective view in
Figure 6, on the right. We are persuaded by Mr. Peters’ testimony and
annotated Figure 2, reproduced below, that an ordinary observer would
recognize in the claimed design that, as shown in blue, “the ‘first crease’
extends downwardly while the upper crease of the protrusion, and second
and third creases extend upwardly.” Ex. 2004 ¶ 88.




Mr. Peters’ annotated elevation view, Figure 2 of the ’625 patent, above,
includes annotations highlighting the curvatures of the claimed creases. Id.



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Considering how the sculpting plays into the overall appearance of the
fender, Mr. Peters testifies that compared to Lian, “[t]he ’625 Patent’s
sculpting is characterized by smooth, curving lines.” Id. ¶ 82. For
comparison, we reproduce below Mr. Peters’s annotated cropped portion of
Lian’s Figure 4. Id.




Above is Mr. Peters’ annotated and cropped portion of Lian’s Figure 4
elevational view. Id. Considering Lian’s creases, we find persuasive Mr.
Peters’ testimony that “Lian depicts substantially linear, angled lines,” and
that an ordinary observer would have recognized these lines as elements
integral to the overall appearance of Lian that differ from the claimed
design. Id.
                               Concavity Line
      Both LKQ and GM contest the relevance and similarity of the
concavity line that is positioned and essentially defined between the first and
second creases. LKQ argues that both designs are similar in that relative to
the first and second creases “the interplay between the resulting contours
creates a curved concavity line.” Pet. 48 (citing Ex. 1003 ¶ 56; Ex. 1004



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¶ 61). We reproduce below LKQ’s comparison of annotated Figure 2 of the
’625 patent and a cropped version of Figure 4 of Lian.




Above left, Figure 2 of the ’625 patent depicts an annotated perspective view
of the claimed fender design alongside a cropped version of the perspective
view from Lian’s Figure 6.
      GM argues that the concavity lines are different. PO Resp. 34. GM’s
declarant, Mr. Peters, testifies that “Lian altogether lacks a ‘concavity line’
having the shape of the claimed design’s concavity line.” Ex. 2004 ¶ 86.
GM argues of the second crease and concavity lines that “[t]he sculpting
depicted by these lines further contributes to the overall appearance of the
claimed design, providing distinctly shaped areas of relatively lighter and
darker surfaces.” PO Resp. 34 (citing Ex. 2004 ¶ 85).
      There does not appear to be any dispute that both designs include a
concavity line defined between the first and second creases. As discussed
above, without much persuasive support, both parties and their respective
declarants conclude that the concavity lines are either the same or different.



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Based on our review, it is not clear, in either the ’625 patent or Lian, what
the scope or significance of the concavity line is with respect to either the
’625 patent or Lian. Observing the claimed design as a whole, we disagree
with GM that the concavity line can be considered “prominen[t].” Id. at 35.
However, overall, the creases and concavity line together play a part in the
overall appearance of each design. Considering our analysis, supra, of the
differences in the first and second creases of both designs, we find
persuasive GM’s position that the concavity line, like the first and second
creases, presents a nuanced difference in the claimed design that contributes
to a visually disparate sculpting and overall appearance of the claimed
design as compared to Lian.
          5. Conclusion as to Anticipation by Lian
      Having reviewed the complete record, including both parties’
evidence and arguments, and having considered the overall appearance of
the claimed design as compared to that of Lian, we are not persuaded that
LKQ has shown by a preponderance of the evidence that an ordinary
observer would be deceived into “purchas[ing] one supposing it to be the
other.” Gorham Co. v. White, 81 U.S. 511, 528 (1871). LKQ has not
established persuasively that the ’625 patent design and the design of Lian
are substantially the same under the ordinary observer analysis.
      Accordingly, based on the final record before us, LKQ has not
established by a preponderance of the evidence that Lian anticipates the
claim of the ’625 patent.
      E. Obviousness by Lian, or Lian in view of 2010 Hyundai Tucson
      “In determining the patentability of a design, it is the overall
appearance, the visual effect as a whole of the design, which must be taken




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into consideration.” See In re Rosen, 673 F.2d 388, 390 (CCPA 1982). The
proper standard is whether the design would have been obvious to a designer
of ordinary skill who designs articles of the type involved, which, in this
case, are vehicle fenders. See In re Nalbandian, 661 F.2d 1214, 1217
(CCPA 1981); Ex. 1001, Title, Fig. 1 (illustrating ornamental features on the
outer surface of a vehicle fender). For the reasons that follow, we determine
that LKQ fails to carry its burden of identifying a primary, i.e., Rosen,
reference. See Rosen, 673 F.2d at 391. As a consequence, LKQ fails also to
establish that the challenged claim is unpatentable as obvious.
          1. LKQ’s Arguments
      LKQ contends the ornamental design of the ’625 patent would have
been obvious to a designer of ordinary skill based on Lian alone, or based on
Lian in view of 2010 Hyundai Tucson. Pet. 58–76. LKQ relies on a
comparison of the combined ornamental features of Lian and 2010 Hyundai
Tucson with the design of the ’625 patent, as well as the Gandy and Hill
declarations, to support its conclusion that the “Lian Patent is an appropriate
primary reference for establishing obviousness of the ’625 Patent because it
constitutes ‘a single reference, a something in existence, the design
characteristics of which are basically the same as the claimed design.’” Id.
at 58 (citing Durling, 101 F.3d at 103). Id.
      LKQ asserts, as it did with respect to its claim construction and
anticipation analysis, that a designer of ordinary skill in the art would have
“recognized that the only possible differences between Lian and the claimed
design relate to the specific shape of the wheel arch and the lower rearward
terminus of the fender.” Pet. 62 (citing Ex. 1003 ¶ 71; Ex. 1004 ¶ 76). LKQ
argues that Lian is an appropriate primary reference because of all the




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similarities and further argues, as to the two differences, that ‘[t]he ordinary
skill and creativity of a designer of ordinary skill in the art would have
suggested the few minute alterations needed for the designer to arrive at the
claimed design.” Pet. 58 (citing Ex. 1003 ¶ 66; Ex. 1004 ¶ 71). More
specifically, LKQ argues that an ordinary designer would have found the
’625 patent and Lian to have “nearly identical protrusions, first and second
creases, and concavity line.” Id. at 61 (citing Ex. 1003 ¶ 68; Ex. 1004 ¶ 73).
          2. GM’s Arguments
      GM argues that Petitioner failed to properly evaluate the “multiple,
readily apparent differences between the claimed design and Lian that are
significant to the overall appearance in the eyes of the ordinary
observer/designer.” PO Resp. 45. Because LKQ mainly addressed just two
differences between the claimed design and Lian relating to the wheel arch
and lower terminus, GM argues that even if these differences can be
sufficiently addressed, “multiple, simultaneous changes related to the overall
appearance of the design would be required to achieve the ’625 Patent’s
design.” Id. at 46 (citing Pet. 59; Ex. 2004 ¶ 101). According to GM, “the
Petition summarily dismisses any differences as ‘de minimis,’ without
meaningful analysis of each one of the many required changes.” Id. In
other words, GM’s main argument is that LKQ has failed to show that Lian
is a proper primary, i.e., Rosen, reference. Id. GM also argues that LKQ has
failed to provide a reasoned analysis as to why an ordinary designer would
have modified the shape of Lian’s wheel arch and the shape of Lian’s lower
terminus. Id. at 47. Further, GM argues that even if Lian were modified as
proposed in the ground relying on Lian and 2010 Hyundai Tucson, LKQ




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fails to demonstrate the result would have an overall appearance “basically
the same” as the claimed design. Id. at 54.
          3. Obviousness Analysis
      As discussed previously, for design patents, the relevant obviousness
inquiry is a two-step process. First, we must identify a primary or Rosen
reference, “a something in existence, the design characteristics of which are
basically the same as the claimed design.” MRC Innovations, 747 F.3d at
1331 (quoting Rosen, 673 F.2d at 391). The “basically the same” test
requires initial consideration of the “visual impression created by the
patented design as a whole.” Id. The second step requires a determination
of whether any secondary reference is “so related [to the primary reference]
that the appearance of certain ornamental features in one would suggest the
application of those features to the other.” Id. (alteration in original)
(quoting In re Borden, 90 F.3d 1570, 1575 (Fed. Cir. 1996)).
      The Petition asserts that Lian qualifies as a primary or Rosen
reference. We address the two steps of the obviousness inquiry below.
                 (a) The Visual Impression of the Patented Design as a Whole
      We set forth in our claim construction the overall visual impression of
the claimed design. Section I.D.3.(c). We determined that the appropriate
visual impression of the claimed design occurs by observing and considering
the overall appearance of the claimed design as shown explicitly in Figures
1–4 of the drawings. Id. Also, we found that LKQ’s proposed claim
construction offers a starting point, but does not go far enough, in describing
the overall appearance of the claimed design. According to LKQ, the
claimed design can be described as follows:




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      [a] vehicle fender comprising:
      a top protrusion extending rearwardly and upwardly from an
      upper portion of the fender and having an intermittent u-shaped
      notch;
      a first crease and a second crease extending forwards from a rear
      edge of the fender, a concavity line disposed between the first
      crease and the second crease, and an inflection line below the
      second crease; and
      an angular front elevation profile.
Pet. 10–13; Section I.D.3.(c). We reproduce below Figures 1 and 2 of the
’625 patent.




Ex. 1001, Figs. 1–2. Figure 1, above left, is a perspective view of the fender
with ornamental features illustrated as solid lines and unclaimed features
illustrated by broken lines. Figure 2, above right, is an elevation view of the
claimed fender. Ex. 1001, Description.




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      In addition, we determined based on GM’s arguments that the
appropriate visual impression considers other ornamental elements and
features of the claimed fender design including: 5
      1) A consistently curved door cut line and a circular wheel arch. See
          PO Resp. 4–5 (citing Ex. 2004 ¶¶ 35–38).
      2) A consistent width lower rearward terminus defined between the
          wheel arch and door cut line. See Ex. 1001, Figs. 1–2.
      3) The top protrusion having an upper surface having a thickness and
          consistent width that mirrors the inside surface of the u-shaped
          notch. PO Resp. 7 (citing Ex. 2004 ¶¶ 41–42).
      4) A gently curving first and second crease extending forward from
          the door cut line and defining a concavity line there between. Id.
          at 10; Pet. 14–15 (citing Ex. 1004 ¶ 46).
      5) Below the first and second crease, an inflection line extending
          between the wheel arch and door cut line. PO Resp. 10, Ex. 1001,
          Fig. 1.
Section I.D.3.(c).
                (b) The First Step of the Durling Test
      A preponderance of the evidence supports a conclusion that LKQ fails
to take account adequately of the numerous elements of the patented design
and, therefore, fails also to identify “the correct visual impression created by
the patented design as a whole”—a required first step in identifying a Rosen
reference. Durling, 101 F.3d at 103. That failure, standing alone, justifies


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  These element descriptions are the same as that described in our claim
construction analysis, Section I.D.3., which we summarize here for
readability.


                                     50
                                  Appx0050
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our conclusion that LKQ fails also to prove by a preponderance of the
evidence that the challenged claim of the ’625 patent is unpatentable.
      For purposes of completeness, and alternatively, we turn to the second
part of the first step of the Durling test, which presents an independent basis
for concluding that LKQ fails to carry its burden of proving that the
challenged claim is unpatentable. We thus consider the overall appearance
of the claimed design from the perspective of the ordinary designer in our
analysis as to whether or not the overall appearance of Lian is “basically the
same” as the claimed fender. MRC Innovations, 747 F.3d at 1331. For the
following reasons, we are not persuaded that Lian is basically the same as
the claimed design.
                (c) LKQ Fails to Identify a Single Reference that Creates
                   Basically the Same Visual Impression as the Patented
                   Design
      We reproduce Petitioner’s claim chart, which features Figures 1 and 2
of the claimed design in side-by-side comparison with Lian’s Figures 4 and
6, below.




                                     51
                                  Appx0051
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LKQ provides on the left side of the claim chart reproduced above, each of
Figures 1 and 2 of the claimed front fender compared with a similar cropped
view of the front fender from Lian’s Figures 4 and 6 on the right side of the
claim chart.




                                    52
                                 Appx0052
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      Lian and the ’625 patent do share certain vehicle fender elements such
as an upper protrusion, a wheel arch, a door cut line, a front angled edge, and
sculpting including at least first and second creases in both designs. See
Section I.D.3.(c); see also Pet. 7–10 (citing Ex. 1044, 73). GM’s declarant,
Mr. Peters, agreed with LKQ’s counsel during his deposition that certain
shared features of the claimed design contribute to the overall appearance of
the challenged design. Ex. 1044, 73–81. But determining whether a design
is “basically the same” is not simply a matter of counting up the similarities
and differences. The appropriate comparison focuses on the correct visual
impression created by the designs. See Durling, 101 F.3d at 104. As we
describe below, and keeping in mind the level and skill of an ordinary
designer in vehicle fender design, a complete visual comparison of the
overall appearance of both designs sufficiently shows that the two designs
are quite different.
      It is immediately apparent that the profiles of the wheel arches are not
the same. Compare Ex. 1001, Fig. 2, with Ex. 1006, Fig. 4. Compared to
the claimed consistently circular wheel arch, Lian depicts a more square
profile matched by the square planar edge of the wheel arch extending from
the front angled edge to the fender terminus, lower right. Id. LKQ’s
declarant Mr. Hill agreed that the wheel arch can be a significant feature:
      Q. Yeah. Do you believe that the difference in wheel arches
      between two fenders is something that a consumer or a designer
      would find -- could find significant?
      A. Depending on the degree of the extreme thematic element of
      a wheel arch, yes. It will always be important to a designer
      whether they settle for kind of a common solution or they’re
      looking for a new solution. The consumer would also notice it if
      it was to such a degree that it presented something, you know,
      unique.


                                     53
                                  Appx0053
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Ex. 2008 16:17–17:5.
      The fender terminus of Lian is also visibly different from the claimed
design. Compare Ex. 1001, Fig. 2, with Ex. 1006, Fig. 4. Lian’s terminus
has a rearward protrusion forming a more sharply curved lower portion of
the door cut line. See, e.g., Ex. 1006, Fig. 4. Also, the door cut line of the
claimed design is a mostly consistent curvature extending downward from
the u-shaped notch smoothly to the terminus. Ex. 1001, Fig. 2. A
reasonable observation of Lian’s door cut line reveals a more angular,
sharper bend at the second crease. We appreciate from the deposition
testimony of Mr. Hill, that the door cut and terminus might not be
considered highly significant by an ordinary designer. See, e.g., Ex. 2008,
6:5–7:11, (Mr. Hill testifying about the door cut line, “from the standpoint
that a designer is focused on it, they’re concerned with it, but they’re not
overly concerned with it”). And, we balance this testimony along with
Mr. Peters’ testimony that “I note that the appearance of the door cut line
would have had a substantial impact on the overall appearance of the
design.” Ex. 2004 ¶ 38. We determine that the door cut and terminus
features, even if not overly significant, influence and differentiate the overall
appearance of the claimed design and Lian.
      We are also persuaded that the upper protrusions of Lian and the
claimed design are visually different in meaningful ways. When observed in
a comparison of elevation views, the upper protrusions of both designs may
at first glance appear similar. Compare Ex. 1001, Fig. 2, with Ex. 1006, Fig.
4. However, considering all the views of the claimed design and Lian,
specifically the perspective views, it is apparent that the surfaces of the




                                     54
                                  Appx0054
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protrusions are quite different. We reproduce GM’s annotated Figure 1 of
the claimed design and annotated cropped Figure 6 below.




GM’s annotated cropped Figure 1 of the ’625 patent, above left, as
compared to Lian’s cropped annotated Figure 6, above right. Considering
the ordinary designer’s perspective, our review of the differences between
the designs is consistent with GM’s argument referring to Lian’s Figure 6
above, that in Lian, “[t]he crease becomes less prominent and disappears as
the top surface of the protrusion rotates into a more vertical orientation
where it meets the A-pillar.” PO Resp. 28 (citing Ex. 2004 ¶ 72).
      GM argues persuasively that the U-shaped notches are different
because in the claimed design, “the ‘u-shaped cutout’ has the appearance of
a scalloped feature with consistent thickness and smooth curvature.” Id. In
support of this position Mr. Peters explains that “[t]he shape of the scalloped
feature thus mimics the upper surface of the protrusion, which likewise has a
smooth curvature and a nearly identical thickness. The relatedness of these
features again promotes the cohesive overall appearance of the ’625 Patent’s
design.” Ex. 2004 ¶ 73. LKQ’s declarant, Mr. Hill, likewise testified in his
deposition about the U-shaped notch: “[I]t’s going to be very significant to




                                     55
                                  Appx0055
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the designer to use that space. Normally that is either a mirror pocket or it’s
used as a window . . . [s]o it’s very significant to a designer to manage that
area.” Ex. 2008, 18:13–19:3.
       We are also persuaded that Lian lacks the inflection line (as LKQ
refers to it), i.e., the third crease (as GM calls it), as illustrated below the
first and second crease of the claimed design. See Ex. 1001, Figs 1, 2.
GM’s declarant, Mr. Peters, testifies that in the claimed design, “[w]hile
subtle, the third crease has significant impact on the overall appearance of
the fender in the eyes of the ordinary observer.” Ex. 2004 ¶ 77. We
appreciate that LKQ’s declarant, Mr. Hill, testifies that “the fender of Lian
curves convexly to a maximum at approximately the same location on the
fender panel as the inflection line of the ’625 Patent.” Ex. 1004 ¶ 63.
However, Mr. Hill’s testimony does not explain sufficiently that Lian shows
a corresponding visually apparent element. We reproduce, below, a cropped
version of Lian’s Figure 4.




                                       56
                                    Appx0056
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Shown above is cropped version of Lian’s Figure 4, an elevation view of
Lian’s fender design. Mr. Hill would not commit during his deposition that
Lian shows a corresponding crease or line:
      Q. Yeah. There’s no line within the red circle on the Lian close-
      up, is there?
      []
      THE WITNESS: No. There’s the surface, and I can infer the --
      the inflection, the wide line.
      []
      Q. But there’s no line like the kind shown in the ’625 patent?
      []
      THE WITNESS: One being a shaded 3D model and one being a
      line drawing, they -- there is no line in the Lian.
Ex. 2006, 77:3–14. In light of certain general consistencies between the
parties’ witnesses, we find persuasive Mr. Peters’ testimony that Lian “lacks
both the appearance provided by the third crease itself, as well as the distinct
change between light and dark surface shading associated with the third
crease.” Ex. 2004 ¶ 78. Whatever nomenclature we give this element in the
design, we are not persuaded that the inflection line or third crease, an
ornamental feature illustrated in the claimed design, is shown by Lian.
      On this record, considering altogether the differences between the
overall appearances of the claimed design and the design shown in Lian,
LKQ does not establish that Lian “creates ‘basically the same’ visual
impression” as the patented design. The claimed design includes the
visually disparate elements discussed above including the upper protrusion,
the u-shaped notch, the door cut line, a circular wheel arch, the lower rear
terminus, the specific sculpting of the first and second creases along with the



                                     57
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concavity line, and the inflection line below the first and second creases.
See Durling, 101 F.3d at 103. Neither the Petition nor the Reply, each of
which dismisses many of these elements as minor, adequately accounts for
these ornamental features of the patented design. See, e.g., Pet. Reply 12
(“Any difference between the door cut lines, such as the ‘depth’ to which the
door advances beyond the U-shaped notch or the height of its apex, is likely
too minor for an ordinary observer to even notice.” (citing Ex. 1004 ¶¶ 32–
34)).
        In sum, a preponderance of the evidence supports a conclusion that
LKQ fails to identify “a single reference that creates ‘basically the same’
visual impression” as the patented design. Durling, 101 F.3d at 103. That
failure provides an independent basis for concluding that LKQ fails to carry
its burden of proving that the subject matter of the challenged claim of the
’625 patent would have been obvious at the time of the invention.
                 (d) The Second Step of the Durling Test
        Accordingly, for the reasons given above, LKQ fails also to establish
by a preponderance of the evidence that the challenged claim is unpatentable
based on the ground that asserts Lian as a Rosen reference, in combination
with 2010 Hyundai Tucson. Pet. 66–76 (asserting Lian as the primary
reference in the challenge identified as Ground 3). We need not, therefore,
reach the second step of the Durling test because the first step has not been
met.
                              III. CONCLUSION
        LKQ has not proved by a preponderance of the evidence that the
claim of the ’625 patent is anticipated by Lian or would have been obvious
over Lian alone or in combination with 2010 Hyundai Tucson.




                                     58
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                                             Claims      Claims Not
                 35                          Shown         Shown
     Claims    U.S.C. § Reference(s)/Basis Unpatentable Unpatentable
 1               102      Lian                                   1

 1               103      Lian                                   1

 1               103      Lian and 2010                          1
                          Hyundai Tucson
                                                                 1
                            Overall Outcome


                                  IV. ORDER
       For the reasons given, it is
       ORDERED that, based on a preponderance of the evidence, the claim
of the ’625 patent has not been shown to be unpatentable; and
       FURTHER ORDERED that, because this is a Final Written Decision,
any party to the proceeding seeking judicial review of this Decision must
comply with the notice and service requirements of 37 C.F.R. § 90.2.




                                         59
                                      Appx0059
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                               Appx0060
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(12)   United States Design Patent (10) Patent No.:                                                                          US D797,625 S
       Perkins                                                                            (45) Date of Patent:               ** Sep.19, 2017
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                                                                                            0608,691 s       1/2010    Zak, Jr. et al.
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(71)    Applicant GM GLOBAL TECHNOLOGY                                                      D611,387 s       3/2010    Thompson et al.
                  OPERATIONS LLC, Detroit, MI (US)                                          D611,879 s       3/2010    Kim et al.
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(52)    U.S. Cl.
        USPC ......................................................... D12/184
                                                                                            0678,821 s       3/2013    Ikeda et al.
                                                                                            0680,909 s       412013    Munson et al.
(58)    Field of Classification Search                                                      0680,910 s       412013    David
        USPC ...... 012/88, 90, 91, 92, 181, 184, 196, 400;                                 0684,899 s       612013    Baker
                      D21!424, 433, 434; 2son21, no, 847,                                                       (Continued)
                          280/848, 849; 2961181.1, 181.5, 198                        Primary Examiner- Rosemary K Tarcza
        CPC ........ B62D 25/00; B62D 25/04; B62D 25/16;
                                                                                     Assistant Examiner- Yolanda Robinson
                   B62D 25/161; B62D 25/184; B62D 25/18
                                                                                     (74) Attorney, Agent, or Firm- Reising Ethington P.C.
        See application file for complete search history.
                                                                                     (57)                         CLAIM
(56)                      References Cited
                                                                                     The ornamental design for a vehicle front fender, as shown
                  U.S. PATENT DOCUMENTS                                              and described.
       D570,742 s           612008 Takagi et al.                                                            DESCRIPTION
       D592,105    s        5/2009 Dean et al.
       D597,447 s           812009 Folden
       D600,595 s           9/2009 Nakamura et al.                                   FIG. 1 is a perspective view of the vehicle front fender;
       D601,925 s          10/2009 O'Donnell                                         FIG. 2 is a side view thereof;
       D603,755 s          11/2009 Peters                                            FIG. 3 is front view thereof; and,
       D604,203 s          1112009 O'Donnell                                         FIG. 4 is a top view thereof.
       D605,082 s          12/2009 Munson
       D605,083    s       12/2009 Manoogian, n et al.                               In the drawings, the portions shown by broken lines form no
       D605,977 s          12/2009 Zipfel et al.                                     part of the claimed design.
       D605,978 s          1212009 Wolff et al.
       D608,249 s           112010 Peters                                                             1 Claim, 2 Drawing Sheets




                                                                      Appx0061                                                   LKQ - Ex. 1001 p. 1
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                                                             US D797,625 S
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       0704,607 s   •    512014 Thurber ....................... 012/184        0749,021 s         212016   Boniface et al.
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       0716,696 s       1112014 Thole et al.                                   0749,250 s         212016   Thole et a1.
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                                                                 Appx0062                                              LKQ - Ex. 1001 p. 2
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                                             FIG.l




                                     FIG.2


                                 Appx0063                    LKQ - Ex. 1001 p. 3
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                               FIG. 3




                               FIG.4


                                Appx0064                                 LKQ - Ex. 1001 p. 4
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FORM 19. Certificate of Compliance with Type-Volume Limitations                               Form 19
                                                                                             July 2020


                    UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT

  CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMITATIONS

            Case Number: 2021-2348

  Short Case Caption: LKQ Corporation, et al v. GM Global Technology Operations LLC

 Instructions: When computing a word, line, or page count, you may exclude any
 items listed as exempted under Fed. R. App. P. 5(c), Fed. R. App. P. 21(d), Fed. R.
 App. P. 27(d)(2), Fed. R. App. P. 32(f), or Fed. Cir. R. 32(b)(2).

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                court’s order (ECF No. __________).


        01/26/2022                                                /s/ Barry F. Irwin
  Date: _________________                       Signature:

                                                Name:             Barry F. Irwin




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